    Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 1 of 55



                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

RENATA SINGLETON,
MARC MITCHELL,
LAZONIA BAHAM,
JANE DOE,
TIFFANY LACROIX,
FAYONA BAILEY,
JOHN ROE, and                              CIVIL ACTION NO. 2:17-cv-10721
SILENCE IS VIOLENCE,

       Plaintiffs,                         JUDGE: JANE TRICHE MILAZZO

           v.
                                           MAGISTRATE: JANIS VAN MEERVELD
LEON CANNIZZARO, in his official
capacity as District Attorney of Orleans
Parish and in his individual capacity;

GRAYMOND MARTIN,
DAVID PIPES,
IAIN DOVER,
JASON NAPOLI,
ARTHUR MITCHELL,
TIFFANY TUCKER,
MICHAEL TRUMMEL,
MATTHEW HAMILTON,
INGA PETROVICH,
LAURA RODRIGUE,
SARAH DAWKINS, and
JOHN DOE,
in their individual capacities;

       Defendants.
                     PLAINTIFFS’ CONSOLIDATED OPPOSITION
                      TO DEFENDANTS’ MOTION TO DISMISS
   Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 2 of 55



                           TABLE OF CONTENTS

INTRODUCTION……………………………………………...……….……….………..1

STATEMENT OF THE CASE…………………………………………………………...2

STANDARD OF REVIEW……………………………………...………….….…………5

SUMMARY OF THE ARGUMENT…………….…………..………………..…………5

ARGUMENT……………………………………..………………………..………...……6

    I.     DEFENDANTS’ NEW FACTUAL ALLEGATIONS……..……..……….6

    II.    PRESCRIPTION………………………………………..……….......……..6

    III.   IMMUNITY ……………………………………………..………….……..12

           A. The Individual Defendants Are Not Absolutely Immune
              Because Their Conduct Was Investigative and Administrative,
              Not Prosecutorial…………………………………...………..……...….13

           B. The Individual Defendants Are Not Entitled to Qualified
              Immunity Because Their Acts Were Clearly Unlawful…………...……20

    IV.    FOURTH AMENDMENT CLAIMS BASED ON DEFECTIVE
           MATERIAL WITNESS WARRANT APPLICATIONS.…………….........21

           A. Plaintiffs Singleton, Baham, Mitchell, and Roe’s Fourth
              Amendment Claims Under Franks v. Delaware………..……..……….22

           B. Plaintiff Silence Is Violence’s Claims……………...…………..………31

           C. Defendants Are Not Shielded by Qualified Immunity….……..……….33

    V.     FOURTH AMENDMENT CLAIMS BASED ON
           FRAUDLENT SUBPOENAS…………………………….……..…………34

    VI.    FIRST AMENDMENT CLAIMS…………………………..……..……….38

           A. Plaintiffs Were Unlawfully Compelled to
              Speak with Prosecutors…………………………………..……………..39


                                      i
  Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 3 of 55



           B. Defendants Retaliated Against Plaintiffs for Constitutionally
              Protected Activity…………………………………...…………….……42

           C. Defendants Are Not Entitled to Qualified Immunity………….……….44

   VII.    FOURTEENTH AMENDMENT PROLONGED
           DETENTION CLAIMS…………………………………….……….……..45

   VIII.   FOURTEENTH AMENDMENT SUBSTANTIVE
           DUE PROCESS CLAIMS…………………………………...….…………46

   IX.     CLAIMS FOR FAILURE TO SUPERVISE, TRAIN,
           OR DISCIPLINE, AND FAILURE TO INTERVENE…...……..…………47

   X.      LOUISIANA ABUSE OF PROCESS CLAIMS………….…..……………47

   XI.     LOUISIANA FRAUD CLAIMS……………………………..…...………..50

CONCLUSION ………………………………………………………...…………………50




                                      ii
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 4 of 55



                                        INTRODUCTION

        Plaintiffs—crime victims, witnesses, and a non-profit victim advocacy organization—

challenge the Orleans Parish District Attorney’s Office’s (“Office”) use of unlawful means to

coerce, arrest, and imprison crime victims and witnesses. They bring claims against District

Attorney Leon Cannizzaro, in his individual and official capacities, for the policies, practices, and

customs that caused their injuries. Plaintiffs also bring claims against the individual Assistant

District Attorneys who injured them.

        Plaintiffs’ Second Amended Complaint (“Complaint”) describes four related policies that

the Office has routinely used to intimidate victims and witnesses. First, the Office has used

fraudulent subpoenas to coerce victims into meeting privately with prosecutors. Second,

prosecutors have routinely misled courts to obtain material witness arrest warrants for crime

victims and witnesses. Third, prosecutors have unlawfully compelled victims and witnesses to

speak to them in private and retaliated against them when the witness declines to do so—or when

the prosecutor dislikes a witness’s story. Fourth, prosecutors have orchestrated the prolonged

detention of these witnesses to secure private conversations with prosecutors or to pressure

witnesses to change their testimony. As outlined in detail in the Complaint, these actions have

violated Plaintiffs’ rights.

        In their Motion to Dismiss, Defendants raise a host of procedural defenses that are

inapplicable to most of Plaintiffs’ claims. Where Defendants address the merits, their arguments

do not meet the high bar for dismissal under Fed. R. Civ. P. 12(b)(6). Contrary to Defendants’

contentions, Plaintiffs’ allegations are supported by ample facts and by the governing case law.

Defendants’ Motion to Dismiss should be denied.




                                                 1
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 5 of 55



                                  STATEMENT OF THE CASE

       On April 26, 2017, an investigative journalist at The Lens published a news story reporting

that prosecutors at the Orleans Parish District Attorney’s Office routinely used fraudulent

subpoenas to gain private access to witnesses outside of court proceedings. Doc. 52 ¶ 67.

       The documents described in the story were each adapted from a standard template form.

The documents were labeled, “SUBPOENA,” and warned, “A FINE AND IMPRISONMENT

MAY BE IMPOSED FOR FAILURE TO OBEY THIS NOTICE.” Doc. 52 ¶ 38. Marked with the

official seal of the Office, they directed witnesses to report to the Office for a private meeting with

a prosecutor to “testify” before him. Doc. 52 ¶¶ 35-40.

       Before The Lens published its story, this practice was not widely known among the public.

Doc. 52 ¶ 67. No one who received one of the fraudulent subpoenas had reason to question its

legitimacy. In response to the public outcry when the story broke, the Office made a series of

public statements about the fraudulent subpoenas.

       A spokesman for the Office defended the policy and explained that these documents were

intentionally designed to mislead: “Maybe in some places if you send a letter on the DA’s

letterhead that says, ‘You need to come in and talk to us’ … that is sufficient. It isn’t here. That is

why it looks as formal as it does.” Doc. 52 ¶ 68 (emphasis added).

       The fraudulent subpoenas were part of a longstanding policy to coerce witnesses into out-

of-court meetings with prosecutors using fabricated documents masquerading as valid legal

process. Doc. 52 ¶¶ 61-66. A preliminary investigation identified fraudulent subpoenas signed by

at least 14 prosecutors in cases from second-degree murder to disturbing the peace. Doc. 52 ¶ 63.

       This policy came directly from Office leadership. On May 13, 2014, Defendant First

Assistant District Attorney Graymond Martin sent an email directing all staff, “Please see the


                                                  2
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 6 of 55



attached/revised DA Subpoena to be used from this date forward. Please disregard any older forms

of subpoenas. Do not use any of the older subpoenas.” Doc. 52 ¶ 45; see Doc. 52, App. A.

       In the face of public criticism following The Lens article, Defendant Cannizzaro repeatedly

asserted that no one had been jailed for failing to comply with a fraudulent subpoena. Doc. 52 ¶¶

84-85. Plaintiffs’ preliminary investigation, however, has identified at least 10 material witness

arrest warrant applications that explicitly rely on fraudulent subpoenas. Doc. 52 ¶ 86. Six of these

witnesses were jailed. Doc. 52 ¶ 87; see Doc. 52 ¶¶ 86-113 (describing these cases).

       The use of fraudulent subpoenas is part of a broader policy and practice: basing material

witness arrest warrant applications on material misrepresentations and omissions, including false

allegations that: (1) the witness was properly served with a subpoena; (2) the witness refused to

testify; and (3) the Office could not find the witness. Doc. 52 ¶ 131; see Doc. 52 ¶¶ 130-135

(describing this policy). Prosecutors also routinely submit material witness warrant applications

that offer no reasonable basis to arrest a witness or crime victim—such as the witness or victim’s

preference not to meet with prosecutors outside of court. See Doc. 52 ¶¶ 114-129.

       Once a person is jailed on a material witness arrest warrant, prosecutors routinely leave her

to languish in jail without access to a judge or counsel. See Doc. 52 ¶¶ 144-162. At times, the

results are extreme: P.M., a victim of child sex trafficking, was detained as a material witness for

109 days. Doc. 52 ¶¶ 154-156. Prosecutors exploit this prolonged detention to pressure the witness

to agree to private meetings or to alter her testimony to support the State’s theory of the case. Doc.

52 ¶ 159. Frequently, prosecutors seek to interview the person after court appearances when she is

still shackled and wearing an orange jumpsuit. Doc. 52 ¶¶ 159-162.

       The individual Plaintiffs in this case are victims and witnesses harmed by these practices.

Prosecutors sent Plaintiff Renata Singleton, a domestic violence victim, at least two fraudulent


                                                  3
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 7 of 55



subpoenas, pressured her to speak with them privately on threat of imprisonment, and subsequently

arrested her during a meeting at the Office pursuant to a material witness warrant predicated on

the two fraudulent subpoenas, as well as other misrepresentations. See Doc. 52 ¶¶ 193-228.

       Plaintiff Marc Mitchell was shot while playing basketball. Despite assisting prosecutors

extensively, he was pressured to change his testimony and was ultimately jailed pursuant to a

material witness warrant predicated on false and misleading statements. See Doc. 52 ¶¶ 229-260.

       Plaintiff Lazonia Baham’s daughter’s boyfriend was murdered. She, too, received

fraudulent subpoenas; she, too, was pressured to change her story; and she, too, was jailed—for

eight days—based on misleading representations. See Doc. 52 ¶¶ 261-286.

       Plaintiff Jane Doe is a teenage victim of molestation and child pornography. Similarly, she

was served with a fraudulent subpoena, threatened with jail time, and harassed and humiliated by

prosecutors even when she did submit to an interview. See Doc. 52 ¶¶ 287-303.

       Plaintiffs Fayona Bailey and Tiffany LaCroix each were witnesses in murder cases. Both

were sent fraudulent subpoenas and threatened with imprisonment. Each hired an attorney at her

personal expense to “quash” the fake subpoenas. See Doc. 52 ¶¶ 304-325.

       Plaintiff John Roe was attacked by a man wielding an AK-47. After the assault, he

cooperated with police. He was later arrested on a material witness warrant secured based on false

and misleading statements. See Doc. 52 ¶¶ 326-388.

       Plaintiff Silence Is Violence is a non-profit victim advocacy organization. Resources

once directed at Silence Is Violence’s core mission—public advocacy against violent crime—

must instead be devoted to ensuring that victims of crime are not victimized again by the District

Attorney’s Office. See Doc. 52 ¶¶ 389-413.




                                                4
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 8 of 55



                                STANDARD OF REVIEW

        Defendants’ motions to dismiss are governed by Federal Rule of Civil Procedure 12(b)(6).

A motion to dismiss under 12(b)(6) “is viewed with disfavor and is rarely granted.” Harrington v.

State Farm Fire & Cas. Co., 563 F.3d 141, 147 (5th Cir. 2009) (quotations and citations omitted).

“To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). At the motion-to-dismiss

stage, the complaint must be liberally construed in favor of the plaintiff, and facts pled in the

complaint must be taken as true. See, e.g., Oliver v. Scott, 276 F.3d 736, 740 (5th Cir. 2002).

                               SUMMARY OF THE ARGUMENT

        Defendants raise four main objections to Plaintiffs’ claims. First, Defendants attempt to

dispute the factual allegations in Plaintiffs’ Complaint. This is premature, as a court considering a

motion to dismiss must assume the Plaintiffs’ allegations are true and draw all reasonable

inferences in the Plaintiffs’ favor.

        Second, Defendants argue that prescription has run for certain Plaintiffs. However, claims

are not time-barred where, as here, Defendants have concealed their unlawful conduct, and

Plaintiffs could not reasonably have been expected to know about it.

        Third, Defendants argue that they are entitled to either absolute or qualified immunity.

These defenses are inapplicable to the bulk of Plaintiffs’ claims, which are brought against

Defendant Cannizzaro in his official capacity. Nor do these defenses apply to Plaintiffs’ claims for

prospective relief. As for the Individual Defendants, absolute immunity does not shield conduct

that is investigative or administrative in nature, which is the conduct at issue in this case. Nor is

qualified immunity available since Defendants’ conduct violated clearly established law.


                                                  5
            Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 9 of 55



             Fourth, Defendants contest the merits of certain claims, often in brief or conclusory terms.

Defendants’ arguments are unsupported or mischaracterize the law.

                                                    ARGUMENT

       I.       DEFENDANTS’ NEW FACTUAL ALLEGATIONS

             In response to Plaintiffs’ allegations, Defendants proffer a slew of factual allegations of

their own.1 As noted, this is not the appropriate stage of litigation for factual disputes, where factual

allegations must be taken as true, and all reasonable inferences drawn in Plaintiffs’ favor. See

Oliver, 276 F.3d at 740. The Court should thus disregard them.

             Moreover, a number of these new allegations are false. For example, Defendants dispute

Plaintiff Mitchell’s allegation that Defendant Trummel relied on a false statement—that Mitchell

had bought a bus ticket to leave town—when he asked the court to jail Mitchell as a material

witness. Defendants explain, “Mr. Trummel notes that the statement that Mr. Mitchell had a bus

ticket to leave town was based on information provided by Mr. Mitchell’s mother.” Doc. 63-1 at

13 n.16.2 This cannot be true: at the time Defendant Trummel made this statement to the court,

Mr. Mitchell’s mother had been dead for nearly three years.3

       II.      PRESCRIPTION

             Defendants allege that Plaintiffs Singleton, Mitchell, Baham, and Doe’s claims for

damages are time-barred. But until recently—due to Defendants’ efforts to conceal the unlawful




1
  Plaintiffs do not object to Defendants’ reference to court documents, such as the arrest warrant applications at issue
in this case. Doc. 63-1 at 2 n.2. Nor do Plaintiffs take issue with the inclusion of entries from court dockets or files,
which may be considered matters of public record. However, Plaintiffs do object to the factual allegations in
Defendants’ arrest warrant applications being taken as true, since the warrant applications are the very documents
Plaintiffs allege to be replete with false and misleading statements.
2
    When referencing documents filed in this case, Plaintiffs refer to the page number listed on the ECF header.
3
    See Obituary for Patricia Lewis, New Orleans Advoc. (Oct. 23, 2013), available                                    at
http://www.legacy.com/obituaries/theneworleansadvocate/obituary.aspx?page=lifestory&pid=167671868.
                                                            6
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 10 of 55



nature of their conduct—these plaintiffs were not aware of the facts necessary to plead their claims.

Therefore, under governing precedent, their claims are not prescribed.

       The statute of limitations for section 1983 claims is borrowed from the state in which the

cause of action arose. See Owens v. Okure, 488 U.S. 235, 240 (1989). Specifically, courts apply

the prescriptive period that the State provides for personal injury torts. Id. at 240-41. Here, that

prescriptive period is one year. See La. Civ. Code. Ann. art. 3492 (1992).

       Although state law supplies the limitations period, federal law determines when the statute

of limitations accrues, or begins to run. See Wallace v. Kato, 549 U.S. 384, 388 (2007). State

tolling rules also apply to section 1983 claims. King-White v. Humble Indep. Sch. Dist., 803 F.3d

754, 764 (5th Cir. 2015). These tolling rules create exceptions to the statute of limitations, and

where they apply, they prevent the running of prescription. See Marin v. Exxon Mobil Corp., 48

So.3d 234, 245 (La. 2010). Based on each of these principles—the law of federal accrual and state

tolling rules—Plaintiffs’ claims have not prescribed.

       Accrual. Under federal law, the limitations period begins to run “‘when the plaintiff has a

complete and present cause of action, that is, when the plaintiff can file suit and obtain relief.’”

Aly v. City of Lake Jackson, 453 F. App’x 538, 539 (5th Cir. 2011) (quoting Wallace, 549 U.S. at

388). “A plaintiff need not know that she has a legal cause of action; she need know only the facts

that would ultimately support a claim.” Piotrowski v. City of Houston, 237 F.3d 567, 576 (5th Cir.

2001). Specifically, the plaintiff must know (1) that she has been injured, and (2) “the connection

between the injury and the defendant’s actions.” Id. (quotations omitted).

       Here, Plaintiffs did not know facts necessary to their claims until more than a year after

their injuries. Plaintiffs Singleton, Baham, and Doe did not know that the “subpoenas” directing

them to report to the District Attorney’s Office were fraudulent. Doc. 52 ¶¶ 228, 286, 303. Indeed,


                                                 7
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 11 of 55



Defendants’ scheme was designed to mislead Plaintiffs into believing that these documents were

valid; the fraudulent documents were labeled “subpoenas,” bore the official seal of the District

Attorney’s Office, and threatened fines and imprisonment for failure to comply. Doc. 52 ¶¶ 38-40.

         Each of the claims for which Defendants assert prescription is premised upon these

Plaintiffs’ receipt of fraudulent subpoenas.4 Accordingly, under federal accrual rules, the statute

of limitations did not begin to run until the first time that Plaintiffs knew or reasonably could have

known the factual basis for their claims: when The Lens exposed the use of fraudulent subpoenas

on April 26, 2017. Doc. 52 ¶¶ 67, 228, 286, 303.

         For Baham’s Fourteenth Amendment prolonged detention claim against Defendant Napoli

to accrue, Baham had to know not only that she was injured, but who has caused her injury. See

Piotrowski, 237 F.3d at 576. Baham had no reason to suspect that Defendant Napoli, and not the

court or the jail, was responsible for her detention until she learned he was seeking out-of-court

contact with her to which he was not legally entitled. It was not until April 2017, when the use of

fraudulent subpoenas was made public, that Baham had reason to investigate whether Defendant

Napoli had orchestrated aspects of her detention to secure a private interrogation. Doc. 52 ¶ 286.5

         Plaintiff Mitchell’s claims are also not prescribed. The warrant application for Mitchell’s

arrest was not included in the clerk’s file, and no discussions about it took place on the record.

Doc. 52 ¶¶ 259-260. Instead, the warrant application was available only in the prosecutor’s file.

Doc. 52 ¶ 260. Under Louisiana law, a prosecutor’s file is exempt from disclosure as a public


4
  In Count I, Singleton challenges her arrest pursuant to a material witness warrant that explicitly relied on fraudulent
subpoenas left at Singleton’s home. In Count II, the fraudulent subpoena that Plaintiff Doe received is the central
factual basis for her claim. Fraudulent subpoenas also provide the factual underpinnings of Plaintiffs Singleton,
Baham, and Doe’s claims under the First Amendment (Count III) and Fourteenth Amendment (Count V), as well as
their claims for failure to supervise, train, and discipline (Count VI), failure to intervene (Count VII), abuse of process
(Count VIII), and fraud (Count IX).
5
 See Piotrowski, 237 F.3d at 576 (explaining that accrual begins when “circumstances would lead a reasonable person
to investigate further”) (quotations omitted).
                                                            8
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 12 of 55



record until the criminal conviction becomes final. In the case involving Mitchell, this happened

on September 29, 2017. Doc. 52 ¶ 260 n.14. Before this, Mitchell could not have learned the basis

given for his arrest. Accordingly, the limitations period for Mitchell began on that date.

         Tolling. Two Louisiana tolling principles apply to Plaintiffs’ claims: (1) the “discovery

rule,” and (2) tolling based on fraudulent concealment.6

         The “discovery rule” applies when a plaintiff’s cause of action is not known or reasonably

knowable to the plaintiff. Wimberly v. Gatch, 635 So. 2d 206, 212-13 (La. 1994). A plaintiff’s

“mere apprehension that something may be wrong is insufficient to commence the running of

prescription.” Campo v. Correa, 828 So.2d 502, 511 (La. 2002). Instead, “the ultimate issue in

determining whether a plaintiff had constructive knowledge sufficient to commence a prescriptive

period is the reasonableness of the plaintiff’s action or inaction in light of his education,

intelligence, and the nature of the defendant’s conduct.” Marin, 48 So. 3d at 246. This

reasonableness inquiry “depends almost entirely on the particular circumstances, requiring a case-

by-case analysis.” Terrebonne Par. Sch. Bd. v. Columbia Gulf Transmission Co., 290 F. 3d 303,

322 (5th Cir. 2002).

         Defendants’ conduct here was to coerce certain speech and behavior from victims and

witnesses by creating the false impression that it was required by law. The objective of this practice

was to convince victims and witnesses that prosecutors’ authority was real and their methods

judicially sanctioned. As described above, Defendants’ scheme was successful: Plaintiffs did not

know and had no reason to know that the documents they received—labeled “subpoenas”—were

not, in fact, subpoenas. Doc. 52 ¶¶ 228, 286, 303.7

6
  These principles are part of Louisiana’s doctrine of contra non valentem, which is “a judicially created exception to
the general rule of prescription.” Rajnowski v. St. Patrick’s Hosp., 564 So. 2d 671, 674 (La. 1990).
7
 Plaintiff Mitchell does not allege that he received a fraudulent subpoena. However, as described above, Defendants’
written application for a material witness warrant was submitted ex parte, and the application was not filed into the
                                                          9
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 13 of 55



         Plaintiffs’ inaction prior to this discovery was reasonable, particularly in light of Plaintiffs’

education and intelligence. Plaintiff Singleton was an accountant. Doc. 52 ¶ 226. Plaintiff Mitchell

had a high-school education and worked at a hotel. Doc. 52 ¶¶ 6, 247. Plaintiff Baham was in

special education classes in school and did not advance beyond the eighth grade. Doc. 52 ¶ 7.

Plaintiff Doe was a teenager in high school. Doc. 52 ¶ 8. These Plaintiffs, none of whom had

experience in law, were ill-equipped to perceive Defendants’ misconduct, which was cloaked in

legal process.8

         The discovery rule suspends prescription for Plaintiffs’ official capacity claims against

Defendant Cannizzaro for an additional reason. Even where a plaintiff is aware of her injury,

“prescription d[oes] not begin to run until [the plaintiff] ha[s] a reasonable basis to pursue a claim

against a specific defendant.” Jordan v. Employee Transfer Corp., 509 So. 2d 420, 424 (La. 1987)

(emphasis added).9 Here, in order to know that the District Attorney’s Office—and not merely

certain individuals within it—caused their injuries, Plaintiffs would have needed some indication

that the conduct that harmed them was undertaken pursuant to the Office’s policies or customs.

The Plaintiffs who received fraudulent subpoenas did not know that they were fraudulent—much

less that their use amounted to an official policy. Doc. 52 ¶¶ 61-62, 228, 286, 303. Likewise, until

Plaintiffs Singleton, Baham, and Mitchell understood that their detentions as material witnesses




record. Mitchell’s first opportunity to learn the reasons offered in that application was on September 29, 2017, when
the District Attorney’s file, which contained the application, became available. Doc. 52 ¶ 259.
8
  Relevant to the reasonableness inquiry is whether the plaintiff had education and experience in the subject matter
that gave rise to the cause of action. See, e.g., Bayou Fleet, Inc. v. Bollinger Shipyards, Inc., 197 So. 3d 797, 807 (La.
App. 4th Cir. 2016) (holding that Plaintiffs’ inaction in dispute involving a shipyard was unreasonable where the
plaintiffs were “well educated, sophisticated businessmen with nearly 40 years of experience each in managing and
owning marine businesses”).
9
 See Jack B. Harper Contractor, Inc v. United Fiberglass of Am., Inc., No CIV.A. 11-20, 2012 WL 2087394, at *2
(E.D. La. June 8, 2012) (quoting this language from Jordan with approval).
                                                           10
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 14 of 55



were secured based on false statements and material omissions, these Plaintiffs had no reason to

investigate whether their injuries occurred as part of an official policy.

         Louisiana law also suspends prescription when defendants have concealed the fact of the

offense or have prevented the plaintiff from asserting her cause of action, as long as the plaintiff’s

delay is not willful or caused by her own negligence. See Marin, 48 So.3d at 251-252. Tolling

based on concealment requires three elements to be satisfied. Prevo v. Louisiana ex rel. Dep’t of

Pub. Safety & Corr. Div. of Prob. & Parole, 187 So.3d 395, 399 (La. 2015).

         First, the defendant must have engaged in conduct that rises to the level of concealment,

misrepresentation, fraud, or ill practice. Id. As explained above, Defendants concealed the

fraudulent nature of their conduct by fabricating templates to mimic court-approved forms. Doc.

52 ¶¶ 37-40. And with respect to Mitchell, Defendants failed to file the material witness warrant

application in the record and conducted all discussion of the warrant ex parte. Doc. 52 ¶¶ 259-260.

         Second, the plaintiff must show that the defendants’ actions effectively prevented the

plaintiff from pursuing her case. Prevo, 187 So.3d at 398. Defendants’ concealment of their

misdeeds and threats against Plaintiffs satisfy this prong.10 In particular, Defendants actively

discouraged Singleton from protecting her legal rights by jailing her when she refused to speak to

prosecutors without the presence of counsel.11

         Third, the plaintiff’s inaction must have been reasonable in light of her education,

intelligence, and the nature of the defendant’s conduct. Prevo, 187 So.3d at 398. As described




10
  See, e.g., Lomont v. Bennett, 172 So. 3d 620, 637 (La. 2015) (holding, in a legal practice case in which the attorney
had acted to conceal the malpractice, that prescription did not apply because “[the plaintiff’s] delay in bringing th[e]
action was a direct result of the fraud committed by [the defendant], rather than her own willfulness or negligence”).
11
   Nathan v. Carter, 372 So.2d 560, 563 (La. 1979) (holding that prescription did not apply due to fraud and
misrepresentation where the defendant threatened to withhold money from plaintiff “if she ever contacted an
attorney”).
                                                          11
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 15 of 55



above, Plaintiffs’ inaction was entirely reasonable, particularly given Defendants’ efforts to

mislead them. The statute of limitations should therefore be tolled until the fraud was revealed.

     III.      IMMUNITY

            With respect to each of Plaintiffs’ claims, the Individual Defendants assert that they are

entitled to absolute immunity from money damages for their unlawful acts because they committed

these acts while employed as prosecutors. The Individual Defendants argue that even if they are

not entitled to absolute immunity, they are protected by qualified immunity.

            These defenses are inapplicable to Plaintiffs’ official capacity claims against Defendant

Cannizzaro, as these claims are, in effect, levied against the District Attorney’s Office itself.12

“Unlike government officials sued in their individual capacities, municipal entities and local

governing bodies do not enjoy immunity from suit, either absolute or qualified, under § 1983.”

Burge v. Par. of St. Tammany, 187 F.3d 452, 466-67 (5th Cir. 1999).

            Immunity is also inapplicable to claims for prospective relief.13 Thus, Plaintiffs Roe and

Silence Is Violence’s injunctive claims against Defendants Dawkins, Pipes, Martin, and

Cannizzaro (in his individual capacity) do not hinge on this analysis.14 Nor does immunity apply

to Plaintiffs’ injunctive claims against Defendant Cannizzaro in his official capacity.

            Immunity is therefore solely at issue with respect to Plaintiffs’ damages claims against the

Individual Defendants. For the reasons explained below, these arguments fail.




12
  See Burge v. Par. of St. Tammany, 187 F.3d 452, 466 (5th Cir. 1999) (“Official capacity suits generally represent
another way of pleading an action against an entity of which an officer is an agent.”).
13
  See Valley v Rapides Par. Sch. Bd., 118 F.3d 1047, 1051 n.1 (5th Cir. 1997) (“[T]he defenses of qualified and
absolute immunity do not extend to suits for injunctive relief under 42 U.S.C. § 1983.”).
14
  Plaintiffs Baham and Doe also raised claims for injunctive relief. Doc. 52 ¶¶ 415, 416, 419, 420, 423, 425, 426,
429, 430, 432, 443, 450. However, since the criminal cases involving those Plaintiffs have concluded, their claims
for prospective relief are withdrawn. In Count II, Plaintiffs’ claims against Defendant Mitchell are also withdrawn.
                                                         12
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 16 of 55



          A.     The Individual Defendants Are Not Absolutely Immune Because Their
                 Conduct Was Investigative and Administrative, Not Prosecutorial

          “‘[T]he actions of a prosecutor are not absolutely immune merely because they are

performed by a prosecutor.’” Loupe v. O’Bannon, 824 F.3d 534, 538-39 (5th Cir. 2016) (quoting

Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993)). Rather, a prosecutor is absolutely immune

only for actions undertaken in her “‘role as [an] advocate for the State,’” and not for acts performed

in her role as an ‘administrator or investigative officer.’” Burns v. Reed, 500 U.S. 478, 491 (1991)

(quoting Imbler v. Pachtman, 424 U.S. 409, 430-31 & n.33 (1976)).

          For this reason, the Supreme Court employs a “functional approach,” in which absolute

immunity turns on “the specific activities that g[a]ve rise to the cause of action.” Loughlin v.

Tweed, No. CIV.A. 15-649, 2015 WL 3646777, at *5 (E.D. La. June 10, 2015) (Feldman, J.).

Importantly, “the official seeking absolute immunity bears the burden of showing that such

immunity is justified for the function in question.” Burns v. Reed, 500 U.S. 478, 486 (1991).

          Here, there were five categories of “activities that g[a]ve rise to” Plaintiffs’ claims,

Loughlin, No. CIV.A. 15-649, 2015 WL 3646777, at *5: (1) the creation and use of fraudulent

subpoenas to gain access to witnesses outside of court for private meetings at the Office; (2) the

use of verbal and written threats to gain access to witnesses outside of court and to influence

witnesses’ testimony; (3) the misuse of the material witness arrest warrants for investigative ends;

(4) the prolonged detention of material witnesses; and (5) the failure to supervise or intervene.

None of this conduct is entitled to absolute immunity.

     1.        Fraudulent Subpoenas

     Plaintiffs allege that Defendants Napoli, Petrovich, Rodrigue, and Dover each “issued”

fraudulent subpoenas threatening Plaintiffs Singleton, Baham, Doe, LaCroix, and Bailey with fines

and jail if they refused to meet privately with prosecutors. Doc. 52 ¶¶ 195-197, 270-271, 288, 305-

                                                 13
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 17 of 55



308, 317-318; see Doc. 52 ¶¶ 37-40 (describing these documents). Prosecutors did so using an

Office-wide template subpoena distributed by Defendant Martin. Doc. 52 ¶¶ 43-46. When

Defendant Martin distributed the template, he instructed all prosecutors in the Office to use the

fraudulent template document exclusively. Doc. 52 ¶ 45. These allegations form the basis for

Plaintiffs’ First, Fourth, and Fourteenth Amendment claims, their claims for failure to supervise,

train, and discipline, their claims for failure to intervene, and the state law torts of abuse of process

and fraud.

      Absolute immunity does not apply and Defendants are liable for each of these claims for at

least two reasons. First, the Plaintiffs allege that Defendants used the fraudulent subpoenas in an

investigative capacity. The purpose of prosecutors’ so-called subpoenas was not to prepare for

court appearances, but to mine for information. That is quintessential investigative conduct.15

         Second, in “issuing” fraudulent subpoenas, Defendants were acting outside of their

authority as prosecutors. When a prosecutor “sidesteps” the judicial process, she is not entitled to

absolute immunity. For example, in Lacey v. Maricopa County, 693 F.3d 896 (9th Cir. 2012), a

prosecutor issued investigative subpoenas without first consulting a judge or grand jury, in

contravention of state law. Id. at 909-10. The Ninth Circuit Court of Appeals denied absolute

immunity because, in part, he had “avoid[ed] the scrutiny of the . . . court and [thereby] forfeited

the protections the law offers to those who work within the process.” Id. at 914; see also Loupe,

824 F.3d at 540 (citing Lacey in holding that prosecutors were not entitled to immunity when they

intentionally avoided or contravened court processes).




15
  See Simon v. City of New York, 727 F. 3d 167, 172-74 (2d Cir. 2013) (holding that investigative interviews by
prosecutors are not entitled to absolute immunity); see also Hoog-Watson v. Guadaloupe Cty., 591 F.3d 431, 438 (5th
Cir. 2009) (holding that prosecutor’s participation in a search and seizure was investigative and hence not absolutely
immune).
                                                         14
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 18 of 55



          Defendants acted outside of the legal boundaries of the prosecutorial function when they

“issued” fake subpoenas because Louisiana law does not allow prosecutors to “issue” their own

subpoenas without judicial oversight. See LSA-C.Cr.P. art. 66. Defendants do not contend

otherwise. As a result, Defendants have failed to show that absolute immunity applies to this

extrajudicial conduct. See Simon v. City of New York, 727 F.3d 167, 173-74 (2d Cir. 2013).

     2.        Verbal and Written Threats

          The fraudulent subpoenas distributed by Defendant Martin and “issued” by Defendants

Mitchell, Napoli, Petrovich, Rodrigue, and Dover included written threats: “A fine and

imprisonment may be imposed for failure to obey this notice.” Doc. 52 ¶ 38. Defendants Napoli

and Petrovich also directed their investigators to verbally threaten Plaintiffs. Doc. 52 ¶¶ 265-268,

308-309. Defendant Dover verbally threatened Doe with jail on several occasions. Doc. 52 ¶¶ 295,

297. These threats are part of the factual basis for Plaintiffs’ claims under the First, Fourth, and

Fourteenth Amendments, their claims for failure to supervise, train, and discipline, their claims for

failure to intervene, and the state law torts of abuse of process and fraud.

          Making threats to strengthen the force of their fraudulent subpoenas is not a prosecutorial

function that entitles the Individual Defendants to immunity. As described in detail above, the

fraudulent subpoenas were “issued” for an investigative purpose, and the threats were made to that

same end. And like the use of fraudulent subpoenas, threatening witnesses that Defendants would

enforce fraudulent subpoenas with criminal fines and jail is plainly outside the scope of a

prosecutor’s authority.

          Separately, Defendant Dawkins and Defendant Cannizzaro each made unlawful verbal

threats that form the basis of Plaintiffs Roe and Silence Is Violence’s claims under the First and

Fourteenth Amendments. Defendant Dawkins verbally threatened Plaintiff Roe and his fiancée


                                                  15
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 19 of 55



with jail if Roe refused to meet privately. These out-of-court threats demanding out-of-court

meetings were not prosecutorial functions. As was the case with the fraudulent subpoenas, the

purpose of these meetings was investigative: when Defendant Dawkins threatened Plaintiff Roe

and his fiancée, she demanded private meetings with her, not in-court testimony. Doc. 52 ¶ 380-

387. And indeed, Dawkins has no reason to threaten Plaintiff Roe simply to secure his testimony,

since Plaintiff Roe had willingly cooperated with police and has never contended he would refuse

to testify if validly subpoenaed to court. Doc. 52 ¶¶ 333-34, 348.

       Moreover, Defendant Dawkins sought to compel Plaintiff Roe to meet privately with her

months before trial. Defendant Dawkins’s objective was to gain an investigative advantage, not to

advocate in court. Because this conduct was investigative, and because Defendant Dawkins has no

lawful authority to compel Plaintiff Roe to meet with her or imprison him if he refused, she is not

absolutely immune from liability for making these threats. See Loupe, 824 F.3d at 540.

       Defendant Cannizzaro twice threatened Tamara Jackson, the Executive Director of Silence

Is Violence, with criminal prosecution in order to silence her political speech. In the first instance,

Jackson was threatened after filing a complaint with the National District Attorneys’ Association

about the Office’s failure to protect victims. Jackson “understood that the threat was made as a

direct and proximate result of her advocacy for victims and complaint to the National District

Attorneys’ Association.” Doc. 52 ¶ 174. In the second, Defendant Cannizzaro threatened Jackson

after she publicly criticized the Office for its failure to protect crime victims. Once again, Jackson

“understood this threat to be retaliation for her comments to the press and a warning not to make

further statements to reporters.” Doc. 52 ¶ 175. Absolute immunity does not shield these out-of-

court threats, which were made without connection to any judicial proceeding. Accordingly,

Defendant Cannizzaro cannot meet his burden to establish absolute immunity.


                                                  16
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 20 of 55



     3.        The Misuse of Material Witness Warrants

     Plaintiffs allege that Defendants Mitchell, Napoli, Trummel, Hamilton, and Dawkins used

material witness arrest warrants to secure the detention of Singleton, Mitchell, Baham, and Roe

based on false and misleading statements. Defendant Pipes approved the decision to seek arrest

warrants for Plaintiffs. This conduct is the basis for Plaintiffs’ claim that these Defendants violated

their rights under the Fourth and Fourteenth Amendments, and for their claims for failure to

supervise, train, and discipline and for failure to intervene.

          To be sure, prosecutors may receive absolute immunity for in-court advocacy as well as

written motions made to detain a material witness to secure a witness’s attendance at trial. See,

e.g., Burns, 500 U.S. at 491 (holding that a prosecutor’s advocacy at a probable cause hearing for

a search warrant was entitled to immunity).

          However, Plaintiffs’ Fourth Amendment claim does not turn on the act of advocating for a

material witness warrant. Rather, Plaintiffs allege that (1) the prosecutors, just like any police

officer swearing to a warrant application under oath, acted as complaining witnesses when they

made factual representations to the court; and (2) that the warrants were used primarily to make

witnesses available for unlawful investigative interviews. Neither the function of giving such

testimony nor the function of investigation are protected by absolute immunity.

          First, the factual representations made to the Court by prosecutors in their arrest warrant

applications were more akin to a complaining witness’s affidavit than lawyerly advocacy relying

on the testimony of others. In Kalina v. Fletcher, the U.S. Supreme Court unanimously held that,

when a prosecutor swears to facts in an affidavit accompanying a warrant application, her




                                                  17
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 21 of 55



testimony is not subject to absolute immunity. 522 U.S. 118, 130-31 (1997). The Court explained

that “[t]estifying about facts is the function of the witness, not of the lawyer.” Id.16

         As alleged in the Complaint, Defendants offered facts to the Louisiana courts based on

their own purported experiences with the witnesses, testifying to the underlying facts just as a

police officer would in any warrant application. See Doc. 52 ¶¶ 201, 243, 245-246, 273

(Defendants Mitchell, Trummel, Hamilton, and Napoli attesting to facts about certain Plaintiffs).

Therefore, under Kalina, the Defendants are not entitled to absolute immunity.

         Second, the Complaint alleges that the material witness warrants at issue in this case were

employed to pressure witnesses to submit to out-of-court investigative interviews with

prosecutors—not strictly to obtain in-court testimony. Doc. 52 ¶¶ 243-48, 178-81, 223. In similar

circumstances, the Second Circuit has held that the unlawful use of material witness warrants was

investigative rather than prosecutorial. In Simon v. City of New York, the prosecutor obtained a

material witness arrest warrant and subsequently subjected the witness to interrogation in the

District Attorney’s Office. The Court found that, although filing the warrant application was

protected by absolute immunity, the prosecutors’ investigative conduct was not. 727 F.3d at 172-

74. It explained:

         A material witness warrant serves the purpose of securing a witness’s presence at a
         trial or grand jury proceeding. It does not authorize a person’s arrest and prolonged
         detention for purposes of investigative interrogation by the police or a prosecutor.

Id. at 174. Hence, “[o]nce defendants decided that Simon should be detained for questioning by

[the prosecutor] and compelled her attendance at the Queens DA for two days of intermittent

questioning,” their actions fell outside the protection of absolute immunity. Id. at 173. Here,



16
   See also Loughlin, No. CIV.A. 15-649, 2015 WL 3646777, at *7 (citing Kalina for the principle that a prosecutor
is not entitled to absolute immunity when he “personally vouch[es] for the truth of facts set forth in a certification
supporting the issuance of an arrest warrant”).
                                                          18
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 22 of 55



Defendants used material witness warrants for investigative ends. See, e.g., Doc. 52 ¶¶ 243-48,

178-181. Thus, as in Simon, they are not absolutely immune for this conduct.

      For similar reasons, Defendant Doe is not absolutely immune for his conduct in ordering

Singleton’s arrest on a pending arrest warrant because she refused to speak with prosecutors

without counsel present. “The execution of a material witness warrant is a police function, not a

prosecutorial function” and is not entitled to absolute immunity. Simon, 727 F.3d. at 172 (emphasis

in original). Accordingly, Defendant Doe cannot meet his burden to justify absolute immunity.

      Defendant Pipes is also not entitled to absolute immunity for approving material witness

arrest warrants in his role as Chief of Trials. Doc. 52 ¶¶ 202, 350. Pipes’s immunity turns on

whether the conduct he supervised is itself immune, which it was not. Van de Kamp v. Goldstein,

555 U.S. 335, 341-45 (2009) (immunity of supervisor is derived in part from whether the conduct

of the prosecutor supervised was absolutely immune).

      4.       The Prolonged Detention of Material Witnesses

      Plaintiffs allege that Defendant Napoli intentionally left Plaintiff Baham in jail for eight days

without a court appearance, Doc. 52 ¶¶ 276-277, even though State law requires that arrestees be

brought to court within 72 hours, Doc. 52 ¶ 145; see La. Code Crim. P. Ann. 230.1 (2006). This

conduct is the basis for both of Plaintiff Baham’s Fourteenth Amendment claims against Defendant

Napoli, and it is a component of Plaintiff Baham’s First Amendment claims. It is also a basis for

Baham’s claims for failure to supervise and failure to intervene.

      Defendant Napoli is not entitled to absolute immunity for this conduct. A prosecutor does

not receive absolute immunity for administrative acts.17 And when a prosecutor fails to follow



17
  See Loupe, 824 F.3d at 539 (“[A] prosecutor is afforded only qualified immunity for acts performed in the course
of ‘administrative duties’”); Simon, 727 F.3d at 172-74 (same).
                                                        19
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 23 of 55



statutory rules, court orders, or local custom in detaining witnesses, courts view that failure as

administrative, even when the detention is connected to the prosecution of a criminal case.18

Defendant Napoli facilitated Baham’s prolonged detention in violation of state law and as a matter

of administration. He is therefore not protected by absolute immunity.

      5.        Failure to Supervise, Train, or Discipline

      Plaintiffs allege that Defendants Cannizzaro, Martin, and Pipes each failed to supervise, train,

or discipline prosecutors to prevent the unlawful conduct at issue in this case. Plaintiffs further

allege that, in certain instances, these Defendants specifically instructed prosecutors to commit

this misconduct. These allegations form the factual basis for Plaintiffs’ claims against these

Individual Defendants for failure to supervise, train, or discipline.

      None of this conduct is shielded by absolute immunity. Because the prosecutors being

supervised were not engaged in conduct that warrants immunity, these supervisors are not entitled

to derivative immunity. See Van de Kamp, 555 U.S. at 341-45.

           B.     The Individual Defendants Are Not Entitled to Qualified Immunity Because
                  Their Acts Were Clearly Unlawful

           The doctrine of qualified immunity shields state actors from civil liability if their conduct

was not objectively unreasonable in light of clearly established law at the time of that conduct.

Kinney v. Weaver, 367 F.3d 337, 367 (5th Cir. 2004). Immunity should be denied if “[t]he contours

of the right [were] sufficiently clear that a reasonable official would understand that what he is

doing violates that right.” Id. (quotations omitted).




18
  See, e.g., Simon, 727 F.3d at 172-174; Odd v. Malone, 538 F.3d 202, 212-14 (3d Cir. 2008) (denying a prosecutor
absolute immunity when he failed to notify the court that a case was delayed and the material witness therefore
remained incarcerated).
                                                       20
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 24 of 55



          “[T]he Supreme Court has rejected any requirement that the facts of prior cases be

‘fundamentally’ or ‘materially’ similar.” Gerhart v. McLendon, No. 17-60331, 2017 WL 4838405,

at *4 (5th Cir. Oct. 25, 2017) (quoting Hope v. Pelzer, 536 U.S. 730, 741 (2002)). Instead, qualified

immunity turns on whether the law gave Defendants “fair warning that [their unlawful conduct]

was unconstitutional.” Hope, 536 U.S. at 741. Thus, “officials can still be on notice that their

conduct violates established law even in novel factual circumstances.” Id.

          Here, each of Plaintiffs’ claims for relief involves a clearly established right, which

Defendants plainly violated. Because qualified immunity is tied to the merits of their claims,

Plaintiffs address this issue in the respective merits sections below.

    IV.      FOURTH AMENDMENT CLAIMS BASED ON DEFECTIVE MATERIAL
             WITNESS WARRANT APPLICATIONS

          In Count I of the Complaint, Plaintiffs Singleton, Baham, Mitchell, and Roe allege that

Defendants violated their Fourth Amendment rights to be free from unreasonable seizures.

Specifically, they contend that Defendants relied on misrepresentations and material omissions in

their applications for material witness arrest warrants to arrest Plaintiffs, in violation of Franks v.

Delaware, 438 U.S. 154 (1978). These Plaintiffs seek relief against Defendant Cannizzaro, in his

official capacity, for the policies, practices, and customs that gave rise to their injuries, as well as

against the Individual Defendants that harmed them. Plaintiff Silence Is Violence seeks relief

against Defendant Cannizzaro, in his official capacity, for the injuries that the Office’s unlawful

policies have caused to the organization. In addition to Franks violations, Silence Is Violence

challenges the Office’s official practice of routinely relying on facts plainly insufficient to justify

a material witness warrant, in violation of Malley v. Briggs, 475 U.S. 335 (1986).




                                                  21
         Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 25 of 55



               A.     Plaintiffs Singleton, Baham, Mitchell, and Roe’s Fourth Amendment Claims
                      Under Franks v. Delaware

               In Franks v. Delaware, 438 U.S. 154 (1978), the U.S. Supreme Court held that a state agent

violates the Fourth Amendment where (1) she includes material false statements in support of a

warrant (2) that were made deliberately or with “reckless disregard for the truth” and (3) which

are “necessary to the finding of probable cause.” Id. at 155-56. Although Franks itself involved

false statements, the “holding in Franks applies to omissions as well.” Hale v. Fish, 899 F.2d 390,

400, n.3 (5th Cir. 1990).19

               To assess whether the false statements and omissions were necessary to the finding of

probable cause, a court must “consider the faulty affidavit as if those errors and omissions were

removed.” Winfrey v. Rogers, 882 F.3d 187, 199 (5th Cir. 2018). The court must then “examine

the ‘corrected affidavit’ and determine whether probable cause for the issuance of the warrant

survives the deleted false statements and material omissions.” Id.

               As a preliminary matter, Defendants question whether probable cause is the appropriate

standard for material witness warrants. Doc. 63-1 at 25-26. The Second, Sixth, and Ninth Circuits

have held that it is.20 These courts have interpreted probable cause in this context to mean probable

cause that the legal standard set forth in the applicable material witness statute has been met.21




19
  Defendants suggest (without authority) that Franks may not apply to material witness warrant applications. Doc.
63-1 at 26. Although Franks itself involved a criminal search warrant, the Fifth Circuit has applied it to arrest warrants.
See, e.g., Winfrey v. Rogers, 882 F.3d 187, 198-99 (5th Cir. 2018). Federal courts have also repeatedly applied the
Franks analysis to material witness warrant applications. See, e.g., United States v. Awadallah, 349 F.3d 42, 64–65
(2d Cir. 2003); Al-Kidd v. Gonzales, No. 1:05-cv-093-EJL-MHW, 2012 WL 4470776, at *4, *7 (D. Idaho Sept. 27,
2012); United States v. Padilla, No. 04-60001-CR, 2007 WL 188146 (S.D. Fla. Jan. 22, 2007); Mayfield v. Gonzales,
No. CIV. 04-1427-AA, 2005 WL 1801679, at *7-9 (D. Or. July 28, 2005).
20
  See United States v. Munguia, 273 F. App’x 517, 522 (6th Cir. 2008); Awadallah, 349 F.3d at 64–65; Bacon v.
United States, 449 F.2d 933, 942 (9th Cir. 1971).
21
     See id.

                                                            22
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 26 of 55



         However, in his concurring opinion in Ashcroft v. al-Kidd, Justice Kennedy, joined by

Justices Ginsburg, Breyer, and Sotomayor, questioned whether probable cause was the appropriate

standard for material witness warrants. See 563 U.S. 731, 744-45 (2011). Two months later, in

Schneyder v. Smith, the Third Circuit, citing Justice Kennedy’s concurrence in al-Kidd, held that

material witness warrants should be assessed under the Fourth Amendment’s objective

reasonableness standard. 653 F.3d 313, 325-26 (3d Cir. 2011).

         Under that standard, the court explained, the dispositive question is whether the seizure

was justified under the totality of the circumstances. Id. To answer this question, courts must

“‘balance the nature and quality of the intrusion on the individual’s Fourth Amendment interests

against the importance of the governmental interests alleged to justify the intrusion.’” Id. (quoting

Tennessee v. Garner, 471 U.S. 1, 8 (1985)). Commentators have praised the reasonableness

standard adopted in Schneyder for being more protective of witnesses’ civil liberties than the

probable cause standard, since it requires the court to consider the specific burdens imposed on the

witness and weigh these burdens against the government’s interest in arresting the witness.22

         This Court, however, need not decide which standard applies; as described below, under

either test, Defendants violated Plaintiffs’ Fourth Amendment rights.

         Renata Singleton. In the material witness warrant application for Plaintiff Singleton,

Defendant Mitchell included a number of false and misleading allegations and omissions.

         First, Defendant Mitchell asserted that Singleton failed to appear in court for trial settings

on March 20 and April 24, 2015. Doc. 63-3 at 1-2. However, Defendant Mitchell only



22
   See, e.g., Hallie T. Damon, A Reasonable Detention? Rethinking the Material Witness Statute’s Probable Cause
Standard After al-Kidd, 44 Colum. Hum. Rts. L. Rev. 537, 563 (2013) (praising the reasonableness framework adopted
in Schneyder because it “both restored constitutional protection to those detained under the state material witness
statute and offered a solution for courts to apply to the federal material witness statute in order to accommodate the
balance between law enforcement and the preservation of civil liberties.”).

                                                         23
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 27 of 55



acknowledged that Singleton had not received personal service for the March 20 date. Thus,

although Defendant Mitchell did not explicitly state that Singleton was validly served for the April

24 date, he created the misleading impression that she was. See also Doc. 63-3 at 2 (alleging that

Singleton failed to appear “even after the numerous subpoenas that she received at her primary

residence”).

         Second, Defendant Mitchell alleged in the warrant application that an investigator from the

Office “left two subpoenas at the residence for SINGLETON to appear at the District Attorney’s

Office on April 24, 2015.” Doc. 63-3 at 2. But these documents were not “subpoenas.” They were

fraudulent documents created to resemble authentic subpoenas. Relatedly, Defendant Mitchell

alleged in the warrant application that Singleton “failed to appear pursuant to an appointment with

[Defendant Mitchell].” Doc. 63-3 at 1. He did not explain that this “appointment” was set only by

the fraudulent subpoenas left at Singleton’s door.

         Third, certain allegations in the warrant application falsely imply that Singleton was

avoiding service or that she was impossible to serve. For example, Defendant Mitchell alleged that

the Sheriff’s Office made three attempts to serve Singleton at her home and left subpoenas in her

door “due to no one accepting service at the residence on her behalf.” Doc. 63-3 at 1. But Singleton

was not home when these attempts were made. The phrasing of these allegations creates the false

impression that someone was home and refusing to answer.23

         Similarly, Defendant Mitchell alleged that a victim-witness coordinator at the Office told

him that Singleton “had never been cooperative.” Doc. 63-3 at 1. He does not explain the content




23
  Defendant Mitchell also alleged in the application that his investigator “observed a Toyota Camry, associated with
SINGLETON, parked in the driveway of the residence. Investigator Porter knocked on the door of the residence and
waited for a response from someone present inside the residence, to no avail.” Doc. 63-3 at 2. Again, this creates the
false impression that Singleton was home but would not answer the door.
                                                         24
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 28 of 55



of the conversations between Singleton and this coordinator, in which Singleton explained that she

preferred not to pursue the charges because she did not want to lose time at work or with her

children. Instead, Defendant Mitchell invites the court to infer from this comment that Singleton

would not appear in court if validly served.

         Plaintiffs have alleged that these false statements and omissions were intentional and

reckless. Doc. 52 ¶ 417.24 More broadly, Plaintiffs’ allegations make clear that Defendant

Mitchell’s primary concern was to secure an out-of-court interview with Singleton, and not merely

to secure her truthful testimony in court: when Singleton appeared at the Office but refused to

answer questions without counsel, she was arrested on the spot. Doc. 52 ¶¶ 208-215. Ultimately,

Singleton was never called to testify in the case.

         Without these false allegations and omissions, the arrest warrant application for Singleton

could not satisfy probable cause. The fact that Singleton, a crime victim, did not appear in court

when she was never validly subpoenaed does not furnish probable cause to believe that she would

not appear in court if a subpoena were validly served. Nor could probable cause be established

because she did not obey a fraudulent subpoena demanding she meet with Defendant Mitchell in

private when she has no legal obligation to do so. The corrected warrant application fares even

worse under the Fourth Amendment’s reasonable test: these circumstances are not a reasonable

basis to jail a domestic violence victim for five days on a $100,000 secured bond. 25


24
  Defendants do not dispute that Defendant Mitchell’s conduct was intentional. However, with respect to Defendant
Pipes, they argue, “Ms. Singleton does not allege that Mr. Pipes knew the statements in the application were false, and
the facts as alleged do not plausibly raise such an inference.” Doc. ¶¶ 63-1, at 27 n.31. First, Singleton alleges that
Pipes, along with all of the Defendants named in Count I, acted intentionally or with reckless disregard for the truth.
Doc. 52 ¶ 417. Second, the Complaint alleges that Pipes “reviewed and approved Mitchell’s application for the arrest
warrant,” Doc. 52 ¶ 202. These allegations, along with others about his conduct as a supervisor, satisfy the element of
intent for Defendant Pipes. Doc. 52 ¶¶ 15, 181-186, App. B.
25
  The fact-intensive nature of the Franks analysis also weighs against granting Defendants’ motion to dismiss. See,
e.g., Crosby v. Cox Commc’ns, Inc., No. CV 16-6700, 2016 WL 6403348, at *3 (E.D. La. Oct. 28, 2016) (denying
motion to dismiss in light of “the fact-intensive nature” of the analysis, “as well as the requirement that the Court
credit plaintiffs’ plausible allegations”).
                                                          25
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 29 of 55



        Marc Mitchell. Plaintiff Mitchell was arrested based on prosecutors’ off-the-record

statements to the judge, as well as a written application signed by Defendant Trummel. In these

statements and written application, Defendants Trummel and Hamilton did not inform the court

that: (1) On April 4, 2016, Mitchell had signed a subpoena to testify in court on April 11, 2016

(the warrant for Mitchell was secured on April 6, 2016); (2) Mitchell had cooperated with

prosecutors and had met with them several times to prepare the case for trial; (3) Mitchell had

previously testified at trial against the co-defendant in the case; and (4) Defendant Trummel had

pressured Mitchell to alter his account of events to better support the State’s theory of the case at

the second trial for the co-defendant. See Doc. 52 ¶¶ 232-236, 241-243.

        Prosecutors also relied on false statements to secure the arrest warrant for Mitchell. They

asserted, for example, that Mitchell had bought a bus ticket to leave town. Doc. 52 ¶¶ 245. Mitchell

had not bought a bus ticket. Doc. 52 ¶¶ 245.26 Defendant Trummel also alleged that, on April 4,

2016, Mitchell told prosecutors that he “did not want to move forward with the case” and that “the

only way in which he would testify is if he was arrested.” Doc. 63-11 at 1. This first allegation is

misleading. The second is false. Mitchell had told prosecutors that he no longer wanted to testify.

Mitchell also told prosecutors that he would no longer meet with them outside of court. Doc. 52

¶¶ 166, 241. He did not tell prosecutors that he would not testify if validly subpoenaed. Instead,

Mitchell signed a subpoena for the next court appearance.27

        The U.S. District Court for Idaho found a Franks violation in a case that involved similar

false statements and omissions. Al-Kidd v. Gonzales, No. 1:05-CV-093-EJL-MHW, 2012 WL


26
  As noted above, Defendants contend that “the statement that Mr. Mitchell had a bus ticket to leave town was based
on information provided [to Defendant Trummel] by Mr. Mitchell’s mother.” Doc. 63-1 at 13 n.16. But this could not
be true because at that time, Mr. Mitchell’s mother had been dead for nearly three years.
27
 These omissions and misrepresentations were intentional. Doc. 63-3 at 27-28. Defendants Trummel and Hamilton
were aware of the facts they omitted and the false statements that they made. Doc. 52 ¶¶ 234-246, 417.
                                                        26
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 30 of 55



4470776 (D. Idaho Sept. 27, 2012). In that case, an FBI agent alleged in a material witness warrant

application that the plaintiff had purchased a one-way ticket out of the country, when in fact, he

had purchased a round-trip ticket. Id. at *2. The agent also omitted that the plaintiff had previously

cooperated with the FBI.28 The court found that absent the agent’s misrepresentations and

omissions, there was no probable cause to arrest the plaintiff as a material witness. In particular,

the court emphasized that the fact that the plaintiff had previously assisted the FBI in the

investigation was “necessary to the [court’s] probable cause determination.” Id. at *3.

         The court also observed that the overall effect of the warrant affidavit was to create the

false impression that the plaintiff’s presence could not be secured by subpoena. It explained:

         [T]he warrant affidavit is drafted such that it misrepresents the facts and
         circumstances surrounding the Plaintiff and the impracticability of securing his
         presence by subpoena at the trial …. The problem in this case is that the failure to
         include the omitted incorporation cast an incomplete picture of the individual and
         the surrounding circumstances such that the affidavit misrepresented the true nature
         of the situation and the Plaintiff himself.

Id.

         Here, like in al-Kidd, prosecutors’ misrepresentations and omissions created a misleading

impression that Mitchell would not come to court under any circumstances. In reality, Mitchell

had voluntarily assisted prosecutors on multiple occasions, both in the case at issue and in the trial

of the co-defendant who shot Mitchell, and he had willingly and effectively testified in that case.

Though Mitchell had told prosecutors he no longer wanted to participate, the critical context for

these statements was that prosecutors had pressured Mitchell to change his truthful account to

better support their case and that he had signed a subpoena to appear for trial.




28
  The agent also omitted that the plaintiff was a U.S. citizen with a wife, son, and other family in the United States,
that he was not informed his testimony would be needed or that he should not travel, that he was not asked to inform
the FBI if he left the country, and that he had not been contacted by the FBI in over eight months. Id. at *2.
                                                          27
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 31 of 55



       Absent prosecutors’ misrepresentations and omissions, prosecutors did not establish

probable cause that Mitchell’s presence in court could not be secured with a subpoena. Nor was

Mitchell’s arrest at his workplace and subsequent jailing on a $50,000 secured bond reasonable

under the Fourth Amendment under the totality of the circumstances.

       Lazonia Baham. The application for Plaintiff Baham, completed by Defendant Napoli,

relies solely on allegations that she refused (1) to meet with Defendant Napoli and “cut off all

communication” with the Office; (2) to speak with the Office’s Investigator Kitchens “[d]espite

multiple visits to her home”; and (3) to return Kitchens’s phone calls. Doc. 63-8 at 1.

       These allegations omit several material facts. First, Defendant Napoli did not disclose that

Baham had voluntarily spoken several times with investigators from the Office, including

Kitchens. Doc. 52 ¶¶ 262-264. Second, he omitted that, during these conversations, at Defendant

Napoli’s direction, Investigator Kitchens pressured Baham to change her account of events to

support the State’s theory of the case, and that Kitchens threatened her with jail if she did not. Doc.

52 ¶¶ 262-268. Third, Defendant Napoli did not disclose that he sent Baham fraudulent subpoenas,

demanding she meet with him in private. Doc. 52 ¶¶ 270-271. Fourth, he did not disclose that

Baham stated that she would come to court if subpoenaed, but would not alter her honest account

of events. Doc. 52 ¶ 269.

       Defendants do not dispute that these omissions were intentional. Doc. 63-1 at 28-29.

Defendant Napoli was aware of the facts excluded from the application, but omitted them to falsely

suggest that Baham was “intentionally avoiding service.” Doc. 63-8 at 1; Doc. 52 ¶¶ 263-74, 417.

       When these omissions are corrected, the warrant application provides no valid basis for

Baham’s arrest. The application did not allege Baham had ever missed a court date. Doc. 52 ¶ 274.

And Baham never told prosecutors that she would not come to court; in fact, she affirmatively told


                                                  28
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 32 of 55



them that she would. Doc. 52 ¶ 269. Baham was not avoiding service; she was declining to interact

in private with the prosecutors and their representatives who had pressured her to lie and threatened

her with jail. These circumstances do not constitute probable cause to believe that her presence in

court could not be secured by subpoena. Nor was it reasonable under these circumstances to jail a

witness for eight days without bond.

        Defendants argue that, even if the warrant application were corrected, this “would not have

critically undermined the showing necessary for issuance of a material-witness warrant.” Doc. 63-

1 at 29. Defendants contend this is true because Baham “fail[ed] to appear for trial on October 13,

2015,” and that this event prompted the issuance of the material witness warrant. Doc. 63-1 at 29.

But Baham was never served for that or any other trial date.29 Moreover, this allegation does not

actually appear in the warrant application as a basis for Baham’s arrest. It is unclear on what basis

Defendants contend that this “prompted the filing of the warrant application.” Doc. 63-1 at 29.

        Defendants also contend that Baham exhibited “extreme reluctance to assist in the

prosecution of Mr. Jones,” and state that “Plaintiffs do not challenge [this] as false.” Doc. 63-1 at

29. That statement to this Court is misleading in the extreme. Plaintiffs alleged that Baham initially

voluntarily assisted with the case, but later chose not to communicate with prosecutors or their

representatives outside of court. Doc. 52 ¶¶ 262-272. Plaintiffs have never suggested that Baham

refused or in any other way exhibited “extreme reluctance” to testify. Material witness arrest

warrants are authorized to secure in-court testimony, not to enable out-of-court communication

with prosecutors. Accordingly, Defendants’ arguments must fail.

        John Roe. In Defendant Assistant District Attorney Sarah Dawkins’s warrant application

for Plaintiff Roe, the sole allegation was as follows: “Attempts to reach [John Roe] at his home


29
  The clerk’s minutes, which Defendants cite for this allegation, make no mention of any witness’s failure to appear
on that day. See Doc. 63-9.
                                                        29
       Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 33 of 55



and by phone by members of the Orleans Parish District Attorney’s Office have been unsuccessful.

Messages left for [John Roe] have gone unanswered.” Doc. 63-11 at 1.

        Defendant Dawkins omitted that: (1) Roe assisted and answered questions from police near

the time of the incidents, and had furnished his own contact information as well as his fiancée’s;

(2) despite having notice that Roe had moved, prosecutors sent every subpoena that was issued to

his old address, and they had no reason to believe that he had received any of the subpoenas

delivered there; (3) prosecutors had not made certain basic efforts to locate Roe, despite knowing

that he had moved; (4) before the attempts to contact Roe in May 2017, neither prosecutors nor

police had contacted Roe for nearly 22 months since he had first assisted them. Doc. 52 ¶¶ 333-

348.

        Defendant Dawkins’s statement that she or others at the Office had attempted to call Roe

and left messages for him was also false. Neither Dawkins or anyone else at the Office left any

phone messages for Roe. Doc. 52 ¶ 354. Nor did Roe receive messages on his Facebook account,

which was publicly available. Doc. 52 ¶¶ 346-347. Defendant Dawkins’s statement that attempts

were made to contact Roe “at his home” were misleading at best; in attempting to serve Roe, the

Sherriff’s Department had noted in returns that it filed into the record that Roe’s address was

“incomplete” and he had “moved.” Doc. 52 ¶ 339.

        Defendants argue that these statements were not, in fact, misleading because the warrant

application did not specify that “messages” meant “phone messages” or that “phone calls were

made to only one number or attempts to locate him were confined to a single address.” Doc. 63-1

at 30. These arguments miss the point. The allegations in the material witness warrant created the

unmistakable impression that Roe was impossible to contact or even avoiding service. However,

as the facts omitted by Defendant Dawkins make clear, neither was the case.


                                               30
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 34 of 55



        Defendants also argue that Defendant Dawkins’s misrepresentations and omissions were

not intentional or recklessly false. Doc. 63-1 at 30. But Plaintiffs alleged that Dawkins made the

false statements and omissions knowingly and intentionally, or with reckless disregard for the

truth, and the facts support that inference. Doc. 52 ¶¶ 354-356, 417. At the pleading stage, these

allegations must be taken as true.

        When the misrepresentations and omissions in the material witness warrant application are

corrected, there is no basis for an arrest warrant for Roe under the probable cause or reasonableness

standard. That prosecutors had not attempted to reach him for nearly 22 months and therefore lost

touch with Roe cannot constitute probable cause to believe that his presence in court could not be

secured by a valid subpoena, particularly when he had voluntarily assisted police in the case. This

is especially true when prosecutors repeatedly issued subpoenas to a known incorrect address, and

did not make reasonable attempts to locate Roe.30 Nor do these facts provide a reasonable basis

for jailing a crime victim for three days on a $250,000 secured bond.

        B.       Plaintiff Silence Is Violence’s Claims

        Unlike the individual plaintiffs, Silence Is Violence does not challenge the contents of any

one warrant application. Instead, it alleges that the Office’s unlawful policy, practice, and custom

of relying on false allegations, material omissions, and plainly insufficient factual allegations in

applications for material witness arrest warrants has forced Silence Is Violence to redirect its

resources to protect its clients from prosecutors, and that this unconstitutional conduct has

frustrated its mission. Doc. 52 ¶¶ 389-414.




30
  See al-Kidd, 2012 WL 4470776, at *2-3, discussed supra p. 27; cf. State v. Peterson, 619 So. 2d 786, 790 (La. Ct.
App. 1993) (rejecting defendant’s argument that his right to compulsory process was violated where Sheriff was
unable to locate a witness because the defendant himself had supplied the wrong address).
                                                        31
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 35 of 55



       In addition to challenging the Office’s persistent Franks violations, Silence Is Violence has

also alleged that the Office has a policy, practice, and custom of filing material witness warrant

applications based on facially insufficient factual allegations, and that this violates the Fourth

Amendment under Malley v. Briggs, 475 U.S. 335 (1986).

       In Malley, the U.S. Supreme Court held that an officer violates the Fourth Amendment

when he presents an affidavit to a magistrate that is “so lacking in indicia of probable cause as to

render official belief in its existence unreasonable.” Id. at 345. Plaintiffs allege that prosecutors

routinely submit applications that violate Malley, and that this practice is so pervasive it amounts

to an official policy. Doc. 52 ¶¶ 114-129. For example, Plaintiffs allege that prosecutors regularly

request material witness arrest warrants based on irrelevant allegations that target crime victims

who are poor; including allegations that the crime victim has “no place to live,” “no means of

support,” and “does not have a current address.” Doc. 52 ¶¶ 126-128.

       Defendants do not address the merits of Silence Is Violence’s Franks and Malley claims.

And while they discuss the Individual Plaintiffs’ material witness warrants, Defendants do not

dispute that the Office has a policy of seeking material witness warrants based on false statements,

material omissions, and plainly insufficient facts. See Doc. 63-1 at 25-31, 46-48.

       Defendants’ sole argument as to these claims is to suggest (without citation or argument)

that Silence Is Violence lacks standing. Defendants “[a]ssume for the sake of argument that SIV

would have standing to seek redress for alleged harm to its client,” and in a footnote, state, “The

Defendants do not concede that SIV has standing.” Doc. 63-1 at 46, n.45.

       Defendants’ cursory suggestion is unavailing. An organization has Article III standing if it

“meets the same standing test that applies to individuals.” OCA-Greater Houston v. Texas, 867

F.3d 610, 619 (5th Cir. 2017) (quotations omitted). Therefore, to establish organizational standing,


                                                 32
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 36 of 55



Silence Is Violence must show that (1) it has suffered an “injury in fact”; (2) there is “a causal

connection between the injury and the conduct complained of”; and (3) it is likely that the injury

will be “redressed by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61

(1992). To satisfy these requirements, the organization must show that (1) the challenged policy

frustrates the goals and/or purposes of the organization; (2) the plaintiff organization devoted

resources to counteract the defendant’s allegedly unlawful policies, and (3) the injury must be

concrete and demonstrable. Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982).31

         Silence Is Violence has alleged in detail the resources it has devoted to combating the

illegal policies at issue in this case, the ways in which these policies have frustrated its mission,

and the injuries these policies have caused it. Doc. 52 ¶¶ 12, 389-414. Accordingly, Silence Is

Violence has alleged sufficient facts to establish organizational standing.32 As Defendants do not

otherwise dispute these claims, their motion to dismiss them must be denied.

         C.       Defendants Are Not Shielded by Qualified Immunity

         As noted above, immunity does not apply to official capacity claims. Burge v. Par. of St.

Tammany, 187 F.3d 452, 466–67 (5th Cir. 1999). Nor is immunity applicable to claims for

prospective relief. See Valley v. Rapides Par. Sch. Bd., 118 F.3d 1047, 1051 n.1 (5th Cir. 1997).

         Accordingly, qualified immunity is at issue only as to Plaintiffs’ claims for damages

against Defendants Mitchell, Pipes, Napoli, Trummel, Hamilton, and Dawkins. The right at issue

is clear: the U.S. Supreme Court established over three decades ago that it is unlawful to provide


31
  See also Scott v. Schedler, 771 F.3d 831, 837 (5th Cir. 2014) (“[A]n organization has standing to sue on its own
behalf where it devotes resources to counteract a defendant’s allegedly unlawful practices.”) (quotations omitted);
NAACP v. City of Kyle, 626 F.3d 233, 238 (5th Cir. 2010) (“[A]n organization may establish injury in fact by showing
that it had diverted significant resources to counteract the defendant’s conduct[.]”).
32
   Defendants also argue that “SIV has failed to adequately allege facts showing that the rights of any specific clients
were violated.” Doc. 63-1 at 46. But this argument is inapposite because that is not a requirement for organizational
standing.

                                                          33
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 37 of 55



false or misleading information in a warrant application. Franks v. Delaware, 438 U.S. 154, 164-

65 (1978). However, relying on Ashcroft v. al-Kidd, these Defendants contend that they are entitled

to qualified immunity because it is unclear whether a material witness arrest warrant application

must satisfy probable cause or instead must pass a “reasonableness” test. Doc. 63-1 at 22-23.

Defendants’ warrant applications failed to satisfy either standard. Therefore, Defendants violated

Plaintiffs’ clearly established Fourth Amendment right not to be detained based on false

information absent probable cause and without any reasonable basis for the detention.

   V.        FOURTH AMENDMENT CLAIMS BASED ON FRAUDULENT SUBPOENAS

         Count II alleges that Defendant Cannizzaro, in his official capacity, and Defendants Napoli,

Petrovich, Rodrigue, Dover, and Martin, in their individual capacities, violated the Fourth

Amendment by coercing witnesses to attend private meetings using unlawful “subpoenas” and

threats of criminal fine and imprisonment. Defendants do not dispute that Plaintiffs’ seizures were

unreasonable under the Fourth Amendment; instead, they contend that Plaintiffs Bailey, LaCroix,

and Doe were not seized at all. Doc. 63-1 at 32-34.

         A seizure occurs within the meaning of the Fourth Amendment when a government agent,

“by means of physical force or show of authority,” restrains or prevents an individual’s freedom

of movement. Brendlin v. California, 551 U.S. 249, 254 (2007) (quoting Florida v. Bostick, 501

U.S. 429, 434 (1991)). To meet this definition, the plaintiff’s belief that she was restrained must

be reasonable “in view of all of the circumstances surrounding the incident,” and she must also

actually submit to this show authority. Brendlin, 551 U.S. at 255, 262 (quotations omitted).

        The Fifth Circuit Court of Appeals has explained that the question whether an individual has

“submitted” is context-specific. Brendlin, 551 U.S. at 262 (“But what may amount to submission

depends on what a person was doing before the show of authority: a fleeing man is not seized until


                                                 34
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 38 of 55



he is physically overpowered, but one sitting in a chair may submit to authority by not getting up

to run away.”). Accordingly, to determine whether a seizure has occurred, this court must consider

how the Defendants’ conduct compelled Plaintiffs to restrain their movement or behavior.

       Fayona Bailey and Tiffany LaCroix. Defendants argue that Plaintiffs Bailey, LaCroix,

and Doe were not seized because they did not comply with the fraudulent subpoenas sent to them.

Doc. 63-3 at 29-30. But Bailey and LaCroix did submit to Defendants’ show of authority. Both

believed the fraudulent subpoenas (and the threats that accompanied them) were real. As such,

they reasonably believed that they were confined to two choices: (1) they could attend the out-of-

court interview with a prosecutor; or (2) they could fight the “subpoenas” in court.

       Both Bailey and LaCroix chose the second option. They each hired an attorney at personal

expense, and they participated in a legal challenge against wholly fraudulent documents. See id.

¶¶ 312, 322, 324. In light of prosecutors’ threats, neither felt free to go to work, attend to personal

responsibilities, and otherwise “disregard the [subpoena] and go about [her] business” unburdened

by an unwanted interrogation with prosecutors, on the one hand, or court proceedings to avoid that

interrogation, on the other. California v. Hodari D., 499 U.S. 621, 628 (1991).

       These facts are far afield from those in the cases cited by the Defendants. For example, in

California v. Hodari D., the U.S. Supreme Court held that a seizure had not occurred during a

police chase when the defendant did not yield because there was no “submission to the assertion

of authority.” Id. at 626. The analogous behavior here would be to simply ignore the fraudulent

subpoena and evade the threats and punishments that may follow. But here, Plaintiffs submitted to

the fraudulent subpoenas by treating them as they would real ones and undertaking the time,




                                                  35
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 39 of 55



expense, and travel necessary to hire an attorney to challenge them. That time, money, and

movement constitutes a submission to Defendants’ show of authority.33

      Jane Doe. Doe’s claim involves two “subpoenas.” The first was delivered to her door at her

home. Doc. 52 ¶¶ 288. In the Complaint, Doe alleged that this was a fraudulent subpoena. Doc. 52

¶¶ 288, 303. Defendants do not address this first fraudulent subpoena. Doc. 63-1 at 15-16, 34-35.

       The second was delivered to Doe at school. Doc. 52 ¶ 291. Doe alleged this document was

“unlawfully obtained and/or fraudulent.” Doc. 52 ¶ 303. Doe also explained: “Defendant Dover

contends this document was a valid subpoena. No formal request for the subpoena—a requirement

under Louisiana law—is included in the clerk’s record in the case. The record also does not include

a signed order from the judge granting the subpoena.” Doc. 52 ¶ 291 n.15.

       Defendants have now produced a motion and signed order. Docs. 63-5, 63-6. On that

basis, they contend that the second document was “a proper Article 66 subpoena.” Doc. 63-1 at

16.34 But the motion and order, on their own, do not contradict Doe’s allegation that the second

document was “unlawfully obtained.” Doc. 52 ¶ 303. The motion, for example, does not disclose

that Defendant Dover gave Doe a fraudulent subpoena threatening jail unless she met privately

with him. Doc. 63-6; see Franks v. Delaware, 438 U.S. 154, 155-156 (1978). To the extent

Defendants raise a factual dispute about this document, it should be reserved for discovery.35




33
   The policy concerns described by the Court in Hodari D. are also inapplicable here. In that case, the Court noted
that its decision made practical sense because “compliance with police orders to stop should … be encouraged”
because “[s]treet pursuits always place the public at some risk.” Id. at 627. Here, Bailey and Lacroix hired an attorney
to challenge what they believed to be lawful subpoenas in the appropriate and lawful manner.
34
  Defendants also describe Plaintiffs’ portrayal of this document as “false or misleading.” Doc. 63-1 at 7. However,
as described above, Plaintiffs were precise as to what they knew, even disclosing Defendant Dover’s public
protestations that the document was valid. See Doc. 52 ¶ 291 n.15, 303.
35
  See Laird v. State Farm Fire & Cas. Co., No. CV 16-707-JWD-RLB, 2017 WL 2239578, at *10 (M.D. La. May
22, 2017) (noting that discovery, not a motion to dismiss, was the appropriate stage for the defendant to challenge
plaintiff’s evidence).
                                                          36
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 40 of 55



         Even if the second document were lawfully obtained, Doe’s claim must prevail. Doe

alleged that she submitted to a private interview with Defendant Dover because both she and her

attorney believed she would be jailed if she did not. Doc. 52 ¶¶ 297-298. They believed this

because Defendant Dover had repeatedly intimidated and threatened Doe—including by

delivering a fraudulent subpoena to her door. Doc. 52 ¶¶ 288-295. A Fourth Amendment

violation is not cured simply because some aspect of the state actor’s conduct is legitimate.36

Instead, the relevant question is whether the seizure was reasonable under the totality of the

circumstances. See Ohio v. Robinette, 519 U.S. 33, 39 (1996). Here, it was not.

       Finally, Defendants argue that Doe’s submission was “voluntary.” Doc. 63-3 at 34.37 As

detailed above, it was not. See United States v. Jaras, 86 F. 3d 383, 390 (5th Cir. 1996) (“It is well

established that a defendant’s mere acquiescence to a show of lawful authority is insufficient to

establish voluntary consent.”). But even if it were, this would not dispose of Doe’s claim;

“[s]ubstantial authority from both the Supreme Court and [the Fifth Circuit Court of Appeals]

establishes that voluntary submissions to a show of state authority can constitute seizures for

Fourth Amendment purposes.” McLin v. Ard, 866 F.3d 682, 691 (5th Cir. 2017).

       Silence Is Violence. Defendants do not address the merits of Silence Is Violence’s official

capacity claim, which does not hinge on whether any one person was seized, but instead on whether


36
  See, e.g., United States v. Hernandez, 279 F.3d 302, 308-09 (5th Cir. 2002) (holding that a second, voluntary consent
to search did not cure Fourth Amendment violation caused by the officer’s initial illegal search where the consent was
not “a sufficient break in the causal connection between the initial [illegal] search … and the later search to which
[the defendant] consented”).
37
  Defendants also contend that Doe met with Defendant Dover pursuant to a “direct court order.” Doc. 63-1 at 34.
But as Doe has explained, she and her attorney did not object to a meeting with Defendant Dover because her attorney
“decided that the best strategy to avoid Ms. Doe’s arrest would be for [her attorney] to arrange a meeting with
prosecutors at a more convenient time.” Doc. 52 ¶ 297. Once her attorney “informed the court that Ms. Doe would be
willing to comply with the meeting,” the court ordered Doe’s attorney to arrange it. Doc. 52 ¶ 298. Thus, it was Doe,
and not the court, who ultimately decided that the meeting would take place, and this decision was based on Defendant
Dover’s unlawful conduct. See Doc. 52 ¶ 297 (“As a result of Dover’s intimidation tactics, [Doe’s attorney] did not
object [to the private interview with Dover].”).
                                                          37
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 41 of 55



the Office’s policy of using fraudulent subpoenas violated the organization’s rights. Defendants

also do not dispute that Plaintiffs have adequately pled that the use of fraudulent subpoenas was

an official policy. Doc. 63-1 at 31-35, 46-48. Accordingly, these arguments are waived.38

       Qualified Immunity. Defendants Napoli, Petrovich, Rodrigue, Dover, and Martin claim

they are entitled to qualified immunity for using fraudulent subpoenas. Their sole argument is that

Plaintiffs were not seized, and therefore, their Fourth Amendment rights were not violated. Doc.

63-1 at 32-35. As described above, this argument fails.

       Defendants do not dispute that using fraudulent subpoenas was unreasonable under clearly

established law. Doc. 63-1 at 32-35. Nor could they. “‘No right is held more sacred, or is more

carefully guarded, by the common law, than the right of every individual to the possession and

control of his own person, free from all restraint or interference of others, unless by clear and

unquestionable authority of law.’” Terry v. Ohio, 392 U.S. 1, 9 (1968) (quotations omitted).

Plaintiffs have alleged that Defendants circumvented the law to compel investigative interviews

to which Defendants were not entitled. See La. Cr. P. art. 66; see also La. Op. Att’y Gen. No. 92-

366, at 2 (June 23, 1992) (“[A] district attorney has no authority to issue any type of subpoena,

regardless of the method of service used.”). Qualified immunity does not apply.

     VI.      FIRST AMENDMENT CLAIMS

           Count III alleges that Defendant Cannizzaro, in his official capacity, and Defendants

Cannizzaro, Mitchell, Pipes, Doe, Napoli, Dover, Trummel, Hamilton, Petrovich, Rodrigue,

Martin, and Dawkins, in their individual capacities, unlawfully compelled Plaintiffs to speak and

retaliated against Plaintiffs for engaging in speech protected by the First Amendment. Doc. 52 ¶¶



38
   See Am. States Ins. Co. v. Bailey, 133 F.3d 363, 372 (5th Cir. 1998) (“Failure to provide any legal or factual
analysis of an issue results in waiver”); Mr. Mudbug, Inc. v. Bloomin Brands, Inc,, No. 15-5265, 2018 WL 560467,
at *2 n. 22 (E.D. La. Jan. 25, 2018) (“[T]he Court will not consider arguments raised for the first time in a reply.”).
                                                          38
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 42 of 55



422-28. Defendants briefly argue that Plaintiffs fail to state a claim because Plaintiffs’ First

Amendment rights are not “clearly established.” Defendants are wrong.

         A.       Plaintiffs Were Unlawfully Compelled to Speak with Prosecutors

         It is well-settled that the First Amendment protects “both the right to speak freely and the

right to refrain from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714 (1977); see Riley v.

Nat’l Fed’n of the Blind of North Carolina, 487 U.S. 781, 797 (1988) (reiterating that the First

Amendment includes the freedom to choose “both what to say and what not to say”).

         Like most constitutional rights, this First Amendment right is not absolute—it can be

overcome when the government’s countervailing interest is sufficiently weighty. As a result, it has

long been recognized that “the right to refrain from speaking at all” can be subordinated when

“essential operations of government may require it for the preservation of an orderly society—as

in the case of compulsion to give evidence in court.” W. Virginia State Bd. of Educ. v. Barnette,

319 U.S. 624, 645 (1943) (Murphy, J., concurring).

         Thus, testifying in open court is an exception to the general First Amendment rule: the

government can compel people who possess evidence relevant to a legal controversy to provide

that information and to swear an oath that it is true. However, the government’s ability to coerce

speech in such proceedings has always been limited by formal judicial supervision to ensure that

the government’s need for information outweighs the individual’s First Amendment rights.39 This

judicial supervision ensures that the government does not abuse its power.40




39
  See, e.g., Branzburg v. Hayes, 408 U.S. 665, 709 (1972) (explaining that subpoenas to testify for a grand jury are
always “subject, of course, to the supervision of the presiding judge as to the propriety, purposes, and scope of the
grand jury inquiry and the pertinence of the probable testimony”) (quoting In re Pappas, 358 Mass. 604, 614 (1971)).
40
   In accordance with these principles, the commentary to Article 66, which provides a lawful avenue for a prosecutor
to obtain an investigative subpoena, states that “the requirement of court approval before the subpoena is actually
issued” prevents the “possible abuse of it by the district attorney.” La. Cr. P. art. 66(a) cmt.
                                                         39
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 43 of 55



        This case does not fall under the exception to the well-established general rule that an

individual cannot be compelled to speak absent compelling governmental interest. There simply

is no legitimate interest advanced by the Defendants’ circumvention of available lawful means to

obtain information from crime victims and witnesses. Nor does the government have a legitimate

interest in compelling false testimony or retaliating against those who exercise their rights.41

        Of course, speech is compelled when a person unwillingly succumbs to government

compulsion. However, the First Amendment is also violated when a person resists the compulsion

to speak and is punished for it. In Wooley v. Maynard, for instance, the government sought to

compel speech from a husband and wife who asserted a First Amendment right to not express a

motto on their license plates. The husband was issued three criminal citations, fined $50, and

sentenced to 15 days in jail. Wooley, 430 U.S. at 708. The Court held this punishment violated the

First Amendment’s prohibition against compelled speech (even though the couple had not

succumbed to the government’s demands).

        Each of the Plaintiffs in this case suffered First Amendment violations under the compelled

speech doctrine, either because they succumbed to prosecutors’ demands or because they were

harmed when they refused to do so. Plaintiff Singleton was arrested at the District Attorney’s

Office when she refused to speak without the presence of counsel. Doc. 52 ¶¶ 211-212. Plaintiffs

Bailey and LaCroix retained counsel at personal expense to fight fraudulent subpoenas that sought

to compel them to speak. Doc. 52 ¶¶ 312, 322. Plaintiffs Mitchell, Baham, and Roe submitted to

private meetings with prosecutors after they were unlawfully jailed as material witnesses. Doc. 52

¶¶ 253, 278-280, 380-388. Plaintiff Doe submitted to a private interview with Defendant Dover



41
   Defendants do not dispute that prosecutors’ use of fraudulent subpoenas, prolonged detention, and threats
constituted compulsion. Doc. 63-1 at 36-37. See Am. Commc’ns Ass’n v. Douds, 339 U.S. 382, 402 (1950) (finding
that threats of punishment, such as “imprisonment[ and] fines” constitute government compulsion).
                                                     40
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 44 of 55



because she was afraid she would be jailed if she did not. Finally, Plaintiff Silence Is Violence

changed its policies in response to Defendants’ conduct; now, “the organization never advises

victims to decline meetings with prosecutors—even if the victim wishes to do so—for fear that

prosecutors will jail the victim on a material witness warrant.” Doc. 52 ¶171.42

         Defendants argue that Plaintiffs have no First Amendment right to decline to speak to

prosecutors, relying on the Fifth Circuit’s decision in Alexander v. City of Round Rock, 854 F.3d

298, 308-09 (5th Cir. 2017). Doc. 63-1 at 36-37. Defendants misunderstand this case. The court in

Alexander held that that there is no clearly established right to refrain from speaking during a Terry

stop when an officer has reasonable suspicion of a crime. Id. Alexander simply reiterates the tightly

limited exception to the First Amendment’s prohibition on compelled speech: that it is permitted

in certain judicially monitored or legally sanctioned settings.

         But here, Defendants operated outside of the law. Prosecutors here had legal avenues for

gaining access to Plaintiffs: they could have asked the court for an Article 66 subpoena and met

the appropriate legal standard. Defendants chose to threaten, jail, and defraud them instead.

         Defendants also argue, relying on Alexander, that the First Amendment only bars

compelled political speech. But the compelled speech doctrine is not limited to ideological

messages.43 And again, Defendants’ reliance on Alexander is misplaced. Alexander concerns a

valid Terry stop; in those exigent circumstances, the government’s interests might outweigh the

right not to speak. Id. This reasoning is inapplicable to this case.


42
 See also Doc. 52 ¶¶ 408-410 (describing ways in which Silence Is Violence has changed its policies as a result of
Defendants’ practice of using threats and imprisonment to compel speech).
43
  See Riley, 487 U.S. at 797-98 (holding that there was no difference between “compelled statements of opinion” and
“compelled statements of ‘fact’” because “either form of compulsion burdens protected speech”); see also Axson-
Flynn v. Johnson, 356 F.3d 1277, 1284 n.4 (10th Cir. 2004) (“[The] proscription of compelled speech does not turn
on the ideological content of the message that the speaker is being forced to carry.”); C.N. v. Ridgewood Bd. of Educ.,
430 F.3d 159, 188 (3d Cir. 2005) (“[T]he law does not hold that a compelled speech violation occurs only in the
context of compulsion to embrace a certain viewpoint ….”).
                                                          41
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 45 of 55



       B.      Defendants Retaliated Against Plaintiffs for Constitutionally Protected
               Activity

       To state a First Amendment retaliation claim, a plaintiff must allege that (1) she was

engaged in constitutionally protected activity; (2) the defendant’s actions caused her to suffer an

injury that would chill a person of ordinary firmness from continuing to engage in that activity;

and (3) the defendant’s adverse actions were substantially motivated by the plaintiff’s exercise of

constitutionally protected conduct. Keenan v. Tejada, 290 F.3d 252, 258 (5th Cir. 2002).

       Defendants argue that Plaintiffs have not met the first element of this test because there is

no constitutional right to refuse to speak to prosecutors. Doc. 63-1 at 36-37. But as described

above, Plaintiffs possess a constitutional right to not speak to prosecutors absent proper court

process, which each plaintiff exercised (or attempted to exercise) here. See Wooley, 430 U.S. at

714 (1977); see also Hurley v. Irish-Am. Gay, Lesbian, & Bisexual Grp. of Boston, 515 U.S. 557,

573 (1995) (“[O]ne important manifestation of the principle of free speech is that one who chooses

to speak may also decide what not to say.”) (quotations omitted).

       Additionally, several Plaintiffs resisted Defendants’ efforts to compel specific speech. A

“citizen has a First Amendment right … to reject governmental efforts to require him to make

statements that he believes are false.” See Jackler v. Byrne, 658 F.3d 225, 241 (2d Cir. 2011). As

alleged, members of Cannizzaro’s office pressured victims and witnesses to give specific, false

testimony. For example, Plaintiff Baham states that Defendant Napoli attempted to pressure her

into giving false testimony at trial regarding where she saw Isaac Jones. Doc. 52 ¶¶ 279-82.

Plaintiff Mitchell was also pressured to change his testimony. Doc. 52 ¶ 238.




                                                42
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 46 of 55



         In the case of Silence Is Violence, retaliation followed Executive Director Tamara

Jackson’s expression of core political speech.44 Defendant Cannizzaro twice threatened her: once

after she expressed her opinion in the press that the Office “failed to protect victims from violent

retaliation,” Doc. 52 ¶ 175, and once again after she submitted a formal complaint to the National

District Attorney’s Association “about the inadequate protections the District Attorney’s Office

provides to crime victims,” Doc. 52 ¶ 173. It is difficult to imagine a clearer case of constitutionally

protected speech than this one, where a citizen who criticized a public official was subsequently

threatened by that same official. See Rolf v. City of San Antonio, 77 F.3d 823, 827-28 (5th Cir.

1996) (“[S]peaking out in opposition to government policy is protected activity.”).

         Defendants do not dispute that the individual Plaintiffs have pled the second element—

injury. An injury predicated on retaliation need only be slight.45 The threats and imprisonment

through material witness arrest warrants (which explicitly stated the refusal to speak privately with

prosecutors as a reason for the arrest warrant application) experienced by Plaintiffs meet that bar.46

         Defendants do, however, attempt to downplay Plaintiff Silence Is Violence’s injury by

suggesting the retaliatory threats were mere “warnings.” Doc. 63-1 at 47-48. But Plaintiffs have

alleged that Silence is Violence was threatened—twice—with prosecution by a sitting District

Attorney. Doc. 52. ¶¶ 173, 175. Under Fifth Circuit precedent, such threats satisfy the injury




44
  Defendants claim that Silence Is Violence’s rights were not violated because Jackson’s speech “would at least
arguably constitute obstruction of justice.” Doc. 63-3 at 47. No law, cited by Defendants or otherwise, supports this.
45
  See Izen, 398 F.3d at 368 n.5 (“Any form of official retaliation … including prosecution, threatened prosecution,
bad faith investigation, and legal harassment, constitutes an infringement …”) (quoting Smith v. Plati, 258 F.3d 1167,
1176 (10th Cir. 2001)); Keenan, 290 F.3d at 259 (finding injury sufficient even where the “effect on freedom of speech
may be small”).
46
  Defendants contend, without legal support, that these threats do not give rise to a retaliation claim “as a matter of
law.” Doc. 63-3 at 47-48. Fifth Circuit precedent states otherwise. See Izen, 398 F.3d at 368 n.5 (holding that
threatened prosecution “constitutes an infringement”).
                                                          43
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 47 of 55



element of a First Amendment retaliation claim. See Izen v. Catalina, 398 F.3d 363, 367 n.5 (5th

Cir. 2004) (offering threatened prosecution as an example of unlawful retaliation).

         As for the third element, Defendants do not dispute that their adverse actions against the

individual Plaintiffs were substantially motivated by Plaintiffs’ exercise of constitutionally

protected conduct. Defendants do, however, suggest that Silence Is Violence cannot satisfy this

element. However, the timing and nature of Cannizzaro’s threats confirm that they were motivated

by Silence Is Violence’s constitutionally protected public statements.47

         C.       Defendants Are Not Entitled to Qualified Immunity

         The Individual Defendants contend they are entitled to qualified immunity for violating

Plaintiffs’ First Amendment rights. These Defendants are wrong. First, it is clearly established that

the First Amendment protects both “the right to speak freely and the right to refrain from speaking

at all,” particularly where the government wishes to compel a speaker to convey a particular

message. Wooley, 430 U.S. at 714. In addition, the Fifth Circuit has refused to extend qualified

immunity to acts of retaliation against constitutionally protected speech where—as here—there is

no probable cause to charge the plaintiff with a crime. See Keenan, 230 F.3d at 261.

         Nor is Defendant Cannizzaro shielded by qualified immunity for threatening the Executive

Director of Silence Is Violence. The ability to criticize the government without risk of retaliatory

arrest is not only clearly established, it is one of the core underpinnings of the First Amendment.48




47
  See Mooney v. Lafayette Cty. Sch. Dist., 538 F. App’x 447, 454 (5th Cir. 2013) (“The causal connection prong …
may also be satisfied when the plaintiff relies upon a chronology of events from which retaliation may plausibly be
inferred.”).
48
   See, e.g., City of Houston, Tex. v. Hill, 482 U.S. 451, 463 (1987) (“The freedom of individuals verbally to oppose
or challenge police action without thereby risking arrest is one of the principal characteristics by which we distinguish
a free nation from a police state.”).
                                                           44
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 48 of 55



     VII.    FOURTEENTH AMENDMENT PROLONGED DETENTION CLAIMS

        In Count IV, Plaintiffs Baham and Silence Is Violence allege that Defendant Cannizzaro,

in his official capacity, maintains a policy and custom of detaining material witnesses for

prolonged periods without access to court, in violation of the Fourteenth Amendment. Doc. 52 ¶¶

144-162. Baham also brings this claim against Defendant Napoli. Doc. 52 ¶¶ 276-278, 148-152.

Plaintiffs Roe and Silence Is Violence also seek injunctive relief on this claim. Defendants do not

acknowledge Silence Is Violence’s damages claim or the claims for injunctive relief. See Doc. 63-

1 at 43-45, 46-48. These issues are therefore waived. See Bailey, 133 F.3d at 372.

        Defendants’ sole argument is that Baham has not adequately pled that Defendant Napoli

was responsible for her prolonged detention.49 Doc. 63-1 at 44. To the contrary, Plaintiffs alleged

that “prosecutors are responsible for decisions about when a material witness or victim is called to

court,” and explained how this occurs. Doc. 52 ¶¶ 148-149. They alleged that the Office has “no

procedure to prevent the unlawful and unconstitutional over-incarceration of material witnesses,”

even though it “has been held liable for the prolonged incarceration of material witnesses before.

See Mairena v. Foti, 816 F.2d 1061 (5th Cir. 1987).” Doc. 52 ¶¶ 150-152. And they alleged that

“[o]n information and belief, Ms. Baham’s prolonged detention was the result of Defendant

Napoli’s conduct.” Doc. 52 ¶ 278. These allegations suffice at the pleading stage.

        Defendant Napoli also contends that he is entitled to qualified immunity.50 He is not; the

Fifth Circuit has stated that a person’s right to avoid prolonged detention without a prompt court

appearance is clearly established. Jones v. City of Jackson, 203 F.3d 875, 881 (5th Cir. 2000).


49
   As Defendants have failed to otherwise address Baham’s claims on the merits, they have waived their opportunity
to do so. See Bailey, 133 F.3d at 372.
 Defendant Napoli’s only argument is that courts have not settled on the appropriate standard for assessing Fourth
50

Amendment claims based on material witness warrants. But as described above, qualified immunity hinges on
whether the right is clearly established, not the standard for that right. See supra p. 34.
                                                        45
         Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 49 of 55



       VIII. FOURTEENTH AMENDMENT SUBSTANTIVE DUE PROCESS CLAIMS

           In Count V, Plaintiffs allege violation of their due process rights by Cannizzaro in his

official capacity and by Cannizzaro, Mitchell, Pipes, Doe, Napoli, Dover, Trummel, Hamilton,

Petrovich, Rodrigue, Dawkins, and Martin in their individual capacities.

           A state actor violates substantive due process when her conduct is “so egregious” that it

“shock[s] the contemporary conscience.” Reyes v. North Texas Tollway Auth., 861 F.3d 558, 562

(5th Cir. 2017).51 Defendants’ behavior—which involves fraudulent court documents, the

unlawful jailing of crime victims, and attempts to coerce false testimony—meets that standard.

           Defendants may be held liable for this conduct when it reflects “deliberate indifference.”

Brown v. Nationsbank Corp., 188 F.3d 579, 592 (5th Cir. 1999). Conduct that occurs over time,

with “ample opportunity for cool reflection” reflects “deliberate indifference.” Id. Here,

Defendants had the opportunity to correct these unlawful practices, but did not. To the contrary,

Office supervisors required that these tactics continue and defended them publicly after they were

discovered. Doc. 52 ¶¶ 43-46, 68-69.

           Individual Defendants contend they are shielded by qualified immunity. But Defendants

violated a clearly established right against subjecting witnesses and victims to conduct so horrific

that it shocks the conscience. Rochin v. California, 342 U.S. 165 (1952). Only an unreasonable

prosecutor would not understand that the conduct at issue in this case violates Plaintiffs’ legal

rights.




51
     See also Rochin v. California, 342 U.S. 165 (1952) (introducing the “shocks the conscience” standard).
                                                           46
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 50 of 55



     IX.      CLAIMS FOR FAILURE TO SUPERVISE, TRAIN, OR DISCIPLINE, AND
              FAILURE TO INTERVENE

           Counts VI alleges a failure to train, supervise, or discipline against Defendant Cannizzaro

in his official and individual capacities,52 and against Defendants Pipes and Martin in their

individual capacities. Count VII alleges failure to intervene against all Defendants in their

individual capacities. Defendants allege that these claims fail because Plaintiffs did not state a

predicate constitutional violation.53 For the reasons described above, Plaintiffs have stated claims,

and Defendants’ argument must fail. See supra pp. 21-46.

           As for failure to intervene, Defendants argue (in conclusory fashion) that Plaintiffs have

not plausibly alleged any of them “acted with deliberate indifference with respect to alleged

wrongdoing by others within the DA’s office.” Doc. 63-1 at 47. Such threadbare arguments should

be rejected. In any event, the Complaint alleges sufficient facts to show that Defendants’ unlawful

conduct was pervasive and well-known throughout the Office, such that a failure to intervene could

stem only from deliberate indifference. See, e.g., Doc. 52 ¶¶ 26-192.

     X.       LOUISIANA ABUSE OF PROCESS CLAIMS

           Count VIII alleges that Defendant Cannizzaro, in his official capacity, and Defendants

Dover, Mitchell, Petrovich, Pipes, Napoli, Trummel, Hamilton, Rodrigue, Doe, Dawkins, and

Martin, in their individual capacities, committed the state law tort of abuse of process.

           Abuse of process involves the “malicious perversion of a legally issued process whereby a

result not lawfully or properly obtainable under it is attempted to be secured.” Succession of Cutrer



52
 The failure to supervise, train, and discipline is frequently pled as a means of establishing municipal liability. See
Oklahoma City v. Tuttle, 471 U.S. 808, 822-23 (1985). Here, however, these are free-standing claims against
Defendants in their individual capacities.
53
  As this is Defendants’ sole argument, they have waived the opportunity to substantively address the merits of this
claim. See Bailey, 133 F.3d at 372.
                                                          47
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 51 of 55



v. Curtis, 341 So. 2d 1209, 1214 (La. App. 1976) (quotations omitted). To state an abuse of process

claim, a complaint must allege “(1) the existence of an ulterior purpose; and (2) a willful act in the

use of the process not proper in the regular prosecution of the proceeding.” Mills v. City of

Bogalusa, No. CV 13-5477, 2016 WL 2992502, at *14 (E.D. La. May 24, 2016) (citing

Waguespack, Seago & Carmichael (A PLC) v. Lincoln, 768 So. 2d 287, 290-91 (La. App. 2000)).

       Defendants’ abuse of material witness warrants is a textbook example of the conduct this

tort was designed to address. Defendants do not dispute that Plaintiffs have pled ulterior motive.

Doc. 63-1 at 40-42, 44. They note, however, that abuse of process “involves the malicious use of

a legal process after the process has been instituted.” Doc. 63-1 at 41 (quoting Duboue v. City of

New Orleans, 909 F. 2d 129 (5th Cir. 1990)). Thus, Defendants argue, Plaintiffs’ allegations that

Defendants “acted wrongfully in obtaining material-witness warrants does not state a valid cause

of action.” Doc. 63-1 at 41.

       Defendants misunderstand Plaintiffs’ claims. Plaintiffs allege that Defendants used

material witness warrants to secure private investigative interviews. Doc. 52 ¶¶ 164-171. Plaintiffs

Singleton, Baham, Mitchell, and Roe were each interrogated by prosecutors after arrest warrants

were issued. Doc. 52 ¶¶ 208-212, 253, 277-279, 380-386. Thus, Defendants coopted the material

witness statute—which exists solely to secure in-court testimony—and used it to “obtain a result

not proper under the law.” Ioppolo v. Rumana, 581 Fed. App’x 321, 325 (5th Cir. 2014).

       Defendants’ use of fraudulent subpoenas also amounts to abuse of process. Again,

Defendants do not dispute the ulterior motive element. But they contend that abuse of process

requires “malicious perversion of a legally issued process,” and that “[b]ecause the Plaintiffs

allege that the material-witness warrants and subpoenas were issued illegally, they have not stated

a valid cause of action.” Doc. 63-1 at 41-42 (quoting Curtis, 341 So. 2d at 1214).


                                                 48
      Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 52 of 55



        However, “legally issued,” in this context, means that the process is one normally

associated with legal proceedings or the courts. For example, in Almerico v. Dale, 927 So. 2d 586

(5th Cir. 2006), the Fifth Circuit Court of Appeals rejected an abuse-of-process claim involving

an internal police department disciplinary proceeding. The court explained that “the ‘process’ part

of the cause of action” must refer to “legal process, or court process;” this case fell outside that

definition because it instead involved “a civil service disciplinary matter.” Id. at 594.

        Courts have never limited this tort to process that was validly issued. In fact, the Louisiana

Court of Appeals has specified that abuse of process occurs when a government officer “fail[s] to

comply with the proper procedures or rules set out by law for conducting official actions.” Taylor

v. State, 617 So. 2d 1198, 1205-06 (La. Ct. App. 1993).

        The conduct at issue in this claim is not the creation of fraudulent subpoenas, but rather

the use of these documents to gain private interrogations free of judicial oversight in which they

could, among other things, improperly coerce witnesses to change their testimony. Doc. 52 ¶ 442.

        Defendants also argue that Silence Is Violence “cannot satisfy the basic tort-law

requirement of causation” because it has not “connect[ed] specific, concrete actions by specific

Defendants with specific injuries it allegedly suffered.” Doc. 63-1 at 48. But Silence Is Violence

has alleged in detail how the Office’s policies of misusing material witness warrants and fraudulent

subpoenas have “forced Silence Is Violence to change the way it structures its operations, allocates

its resources, and manages victims’ relationships with the Office.”54 These allegations are more

than adequate to establish causation at the pleading stage.




54
   See, e.g., Doc. 52 ¶¶ 171-175, 252, 389-413 (describing the effects of Defendant Cannizzaro’s policies on Silence
Is Violence).
                                                        49
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 53 of 55



   XI.       LOUISIANA FRAUD CLAIMS

         Count IX alleges that Defendants committed fraud under Louisiana law by creating and

delivering documents that purported to be “subpoenas,” but which were not, in fact, subpoenas.

Under Louisiana law, the tort of fraud requires (1) a misrepresentation of material fact; (2) made

with the intent to deceive; (3) reasonable or justifiable reliance by the plaintiff; and (4) resulting

injury. Schaumburg v. State Farm Mut. Auto. Ins. Co., 421 F. App’x 434, 442 (5th Cir. 2011).

         Defendants do not dispute that Plaintiffs have pled the first two elements. Instead,

Defendants contend that Plaintiffs were not injured because they did not appear at the Office as

the documents demanded. Doc. 63-1 at 43. But Plaintiffs were injured. Plaintiffs Bailey and

LaCroix—believing the documents were real subpoenas—each retained counsel to “quash” them.

See supra at pp. 35, 40. Doe both retained counsel and ultimately submitted to an unwanted

interrogation with Defendant Dover because she believed, based in part on the threats in the

fraudulent subpoena she received, that she would be jailed if she did not. See supra pp. 37, 40-41.

When Singleton was jailed, she did not know that a fraudulent subpoena was a basis for her arrest;

as such, she could not challenge the validity of the warrants, and spent five days in jail. Doc. 52

¶ 219-228.

         Defendants do not specifically address Silence Is Violence’s official capacity fraud claim,

which does not hinge on whether any particular witness submitted to the demands in a fraudulent

subpoena. Doc. 52 ¶ 450; Doc. 63-1 at 46-48. These arguments are therefore waived, see Bailey,

133 F.3d at 372, and this claim should proceed.

                                              CONCLUSION

         For the foregoing reasons, the Court should deny Defendants’ motion to dismiss.




                                                  50
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 54 of 55



                                     Respectfully submitted this 4th day of April, 2018,

                                                           /s/ Bruce Hamilton
                                                           Bruce Hamilton
Anna Arceneaux                                             La. Bar No. 33170
Admitted pro hac vice                                      ACLU Foundation of Louisiana
American Civil Liberties Union Foundation                  P.O. Box 56157
201 West Main Street, Suite 402                            New Orleans, LA 70156
Durham, NC                                                 Tel. (504) 522-0628
Tel. (919) 682-5159                                        bhamilton@laaclu.org
aarceneaux@aclu.org
                                                           Katherine Chamblee-Ryan*
Somil Trivedi                                              Alec Karakatsanis
Admitted pro hac vice                                      Admitted pro hac vice
American Civil Liberties Union Foundation                  Civil Rights Corps
915 15th St., NW                                           910 17th Street NW
Washington, DC 20005                                       Washington, D.C. 20006
Tel. (202) 715-0802                                        Tel. (202) 656-5198
strivedi@aclu.org                                          katie@civilrightscorps.org
                                                           alec@civilrightscorps.org



COUNSEL FOR PLAINTIFFS

*Not licensed in the District of Columbia,
practice subject to D.C. App. R. 49(c)(8),
with supervision by Alec Karakatsanis, a
member of the D.C. Bar.
     Case 2:17-cv-10721-JTM-JVM Document 67 Filed 04/05/18 Page 55 of 55



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of April, 2018, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system, and that service will be

provided through the CM/ECF system.

                                                             /s/ Bruce Hamilton
